Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 1 of 83 Page ID #:2709


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     7   FOUNDATION CONSTRUCTORS, INC. and
     8
         FOUNDATION PILE, INC.

     9

    10                           UNITED STATES DISTRICT COURT
    11                          CENTRAL DISTRICT OF CALIFORNIA
    12                          (SOUTHERN DIVISION – SANTA ANA)
    13
         STEVE NEVILLE,                              Case No. 5:17-cv-02507-AG (AGRx)
    14
         SUBSTRUCTURE SUPPORT, INC.,
    15   and TDP SUPPORT, INC.,                      DEFENDANTS’ PROPOSED
                                                     STATEMENT OF
    16                          Plaintiffs,          CONTROVERTED FACTS AND
                                                     CONCLUSIONS OF LAW IN
    17                                               OPPOSITION TO PLAINTIFFS’
                          vs.
    18                                               MOTION FOR PARTIAL
         FOUNDATION CONSTRUCTORS,                    SUMMARY JUDGMENT OF
    19                                               INFRINGEMENT
         INC. and FOUNDATION PILE, INC.
    20                                               Date: August 19, 2019
                                Defendants.          Time: 10:00 a.m.
    21                                               Courtroom: 10D
    22                                               Hon. Andrew J. Guilford
                                                     Trial Date: October 1, 2019
    23

    24

    25         Pursuant     to      Local     Rule    56-1,   Defendants     FOUNDATION

    26   CONSTRUCTORS, INC. (“FCI”) and FOUNDATION PILE, INC. (“FPI”)

    27   (collectively, “Defendants”), lodge the following Proposed Statement of

    28
                                                 -1-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 2 of 83 Page ID #:2710

         Controverted Facts and Conclusions of Law in Opposition to Plaintiffs’ Motion for
     1
         Partial Summary Judgment Of Infringement.
     2
                Defendants’ Statement of Controverted Facts & Supporting Evidence
     3
         Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
     4
                         (Proposed)
     5
         Infringement Allegations Against EDTTTEX System
     6
         1. Plaintiffs’ Complaint alleged          Admitted as an allegation, denied
     7
            infringement by at least the           otherwise.
     8
            EDTTEX (“Equal Diameter Tubex
     9
            Tip-EX”) Tips.                         See Declarations of Howard Perko and
    10
            Complaint (Docket Entry (“D.E.”)       Byrl Williams in support of
    11
            1) at ¶¶ 23, 52, 62, 71-80.            Defendants’ own Motion for Summary
    12
                                                   Judgment, and herein.
    13
         2. Plaintiffs’ Complaint alleged          Admitted as an allegation, denied
    14
            infringement of both system claims     otherwise.
    15
            and method claims by at least the
    16
            EDTTEX Tips.                           See Declarations of Howard Perko and
    17
            Complaint (D.E. 1) at ¶¶ 23-24, 52-    Byrl Williams in support of
    18
            54, 71-75.                             Defendants’ own Motion for Summary
    19
                                                   Judgment, and herein.
    20
         3. The EDTTEX system includes tip         Admitted.
    21
            models ED1, ED2, ED2M and ED3
    22
            Declaration of Mark Yeh In Support
    23
            of Plaintiffs’ Motion (“Yeh Decl.”),
    24
            ¶ XX, Exh. A, Deposition of Byrl
    25
            Williams (“Williams Depo”),
    26
            34:15-25; 51:9-52:6; 84:16-22; Exh.
    27

    28
                                                 -2-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 3 of 83 Page ID #:2711

         Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
     1
                        (Proposed)
     2
            116, 117.
     3

     4

     5

     6
         4. The system claims asserted in
     7
            Plaintiffs’ summary judgment          Admitted, however, a pile tip
     8
            motion require at least a pile tip    connected to a Pile in those claims is
     9
            connected to a pile.                  preceded by prior Art starting with
    10
            U.S. Pat. No. 7,914,236 Claims 1, 2, Moseley, US 108,814, 1870. This
    11
            4, 16, 18, and 22-27; U.S. Pat. No.   claim is introductory and not novel.
    12
            9,284,708 Claims 1-4, 25-29
    13

    14

    15
         5. Defendants’ EDTTEX piles include      Admitted, however, a pile tip
    16
            an EDTTEX pile tip attached to a      connected to a Pile in those claims is
    17
            tubular pile.                         preceded by prior Art starting with
    18
            See admission by Defendants that      Moseley, US 108,814, 1870. This
    19
            “In Defendants’ EDTTEX piles, a       claim is introductory and not novel.
    20
            pile tip is attached to the tubular
    21
            pile.” Complaint (D.E. 1) at ¶ 44;
    22
            Answer (D.E. 15) at ¶ 44.
    23

    24
         6. The method claims asserted in         Admitted, however, a pile tip
    25
            Plaintiffs’ summary judgment          connected to a Pile in those claims is
    26
            motion require forming a pile from    preceded by prior Art starting with
    27

    28
                                                 -3-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 4 of 83 Page ID #:2712

         Plaintiff’s Undisputed Material Fact          Defendants’ Supporting Evidence
     1
                       (Proposed)
     2
            a pile and a tip, positioning the pile,   Moseley, US 108,814, 1870. This
     3
            attaching a drill rig to the pile, and    claim is introductory and not novel.
     4
            turning the pile to facilitate            Verstraeten patents also reflect
     5
            penetration into the ground.              methods to attach screw piles to pile
     6
            U.S. Pat. No. 7,914,236 Claim 33;         rigs to advance them by rotary motors
     7
            U.S. Pat. No. 9,284,708 Claim 31          and Torque into the ground.
     8
                                                      Williams Dec., ¶¶, Perko Dec., ¶¶
     9
         7. Plaintiffs’ Preliminary Infringement Admitted; but added that during the
    10
            Contentions alleged infringement by entirety of this case until March 29,
    11
            at least the EDTTEX Tips.                 2019, Plaintiffs’ contentions were only
    12
            Yeh Decl., Exh. H, I, J                   that ED 1 or the “Chinese Tip” was
    13
                                                      infringing.
    14
                                                      Rice Dec., ¶
    15
         8. Plaintiffs’ Preliminary Infringement Admitted as allegations but not as true.
    16
            Contentions alleged infringement of None of the methods or systems were
    17
            both system claims and method             new.
    18
            claims.                                   Williams Dec., ¶¶, Perko Dec., ¶¶
    19
            Yeh Decl., Exh. H, I, J
    20

    21
         9. Plaintiffs’ Final Infringement            Admitted; but added that during the
    22
            Contentions alleged infringement by entirety of this case until March 29,
    23
            at least the EDTTEX Tips.                 2019, Plaintiffs’ contentions were only
    24
            Yeh Decl., Exh. K, L, M                   that ED 1 or the “Chinese Tip” was
    25
                                                      infringing.
    26
                                                      Rice Dec., ¶
    27

    28
                                                 -4-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 5 of 83 Page ID #:2713

         Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
     1
                       (Proposed)
     2
         10.Plaintiffs’ Final Infringement        Admitted as allegations but not as true.
     3
            Contentions alleged infringement of None of the methods or systems were
     4
            both system claims and method         new.
     5
            claims.                               Williams Dec., ¶¶, Perko Dec., ¶¶
     6
            Yeh Decl., Exh. K, L, M
     7
         11.Plaintiffs do not allege infringement Admitted.
     8
            by the ED2 EDTTEX tip.
     9
         12.Plaintiffs allege that the ED1,       Admitted as allegations but not as true.
    10
            ED2M and ED3 EDTTEX tips as           None of the tips, methods or systems of
    11
            used by Defendants to form            those patents ‘236 or ‘708 were new.
    12
            EDTTEX piles infringe both system Williams Dec., ¶¶, Perko Dec., ¶¶
    13
            and method claims of U.S. Pat. Nos.
    14
            7,914,236 and 9,284,708.
    15
            Complaint (D.E. 1) at ¶¶ 23-24
    16

    17      (noting that “infringing products
    18
            include, without limitation, the
    19
            EDTTEX (“Equal Diameter Tubex
    20

    21      Tip-EX”) Tips,” and also alleging
    22
            infringement by practicing method
    23
            claims; Yeh Decl., Exh. H, I, J
    24

    25      (Preliminary Infringement
    26
            Contentions); Exh. K, L, M (Final
    27

    28
                                                 -5-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 6 of 83 Page ID #:2714

         Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
     1
                       (Proposed)
     2
           Infringement Contentions).
     3

     4

     5   Defendants’ Past and Continued Use of Accused Instrumentalities
     6   13.Defendants have in the past and       Admitted, except that EDTTEX 1 or
     7      continue to make, use, offer for sale, the Chinese Tips were not ordered
     8      and sell the EDTTEX Tips.             further after 2009, and were not
     9      Admitted by Defendants.               installed withing 6 years of this suit,
    10      Complaint (D.E. 1) at ¶ 62; Answer    except for 40 of the 1000 tips ordered.
    11      (D.E. 15) at ¶ 62.                    The EDTTEX 2, 2M and 3 continue to
    12                                            be made, used, offered for use in pile
    13                                            projects, and installed.
    14                                            Williams Dec., ¶11.
    15   Defendants’ Knowledge of Patents and Willful Infringement
    16   14.Defendants had knowledge of U.S.      Admitted that the patent application
    17      Patent No. 7,914,236 as early as      was known but at the time it was
    18      August 12, 2009, when they were       rejected (repeatedly) by the patent
    19      provided a copy of the publication    examiner as obvious against prior art
    20      of the patent application             and indefinite.
    21      Admitted by Defendants.               See Rice Dec., Ex.’s 13, 14.
    22      Complaint (D.E. 1) at ¶ 46, 64-66;
    23      Answer (D.E. 15) at ¶ 46, 64-66.
    24   15.In 2009, Defendant FCI stated that    Admitted.
    25      it would “continue to monitor the
    26      progress of the patent application
    27      with interest.”
    28
                                                 -6-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 7 of 83 Page ID #:2715

         Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
     1
                       (Proposed)
     2
            Admitted by Defendants.
     3
            Complaint (D.E. 1) at ¶ 47 Answer
     4
            (D.E. 15) at ¶ 47.
     5
         16.U.S. Patent No. 7,914,236 issued on Admitted.
     6
            March 29, 2011.
     7
            U.S. Patent No. 7,914,236
     8
         17.U.S. Patent No. 9,284,708 issued on Admitted.
     9
            March 15, 2016.
    10
            U.S. Patent No. 9,284,708
    11
         18.Defendants’ only noninfringement       Denied.
    12
            argument relies on an a claim          The lack of infringement is as to all the
    13
            construction that the end plate must   elements of the subject patents ‘236,
    14
           be “a substantially flat plate at the   and ‘708 and their invalidity. The
    15
           termination of the pile tip.”           “substantially flat plate” perpendicular
    16
            Yeh Decl., ¶ 6, Exh. D, Perko          to the centerline of the pile is the one
    17
            Expert Report.                         feature the patent examiner required to
    18
                                                   find the patent not precluded due to
    19
                                                   prior art.
    20
                                                   Defendants’ evidence is that there is no
    21
                                                   infringement in any respect as to any of
    22
                                                   the EDTTEX pile tips.
    23
                                                   Williams Dec., ¶¶2C-10, Perko Dec.,
    24
                                                   ¶¶5-13.
    25
         19.No term was construed during claim Admitted, however, the patent claims
    26
            construction as requiring “a           of ‘236 and ‘708 contain the terms
    27

    28
                                                 -7-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 8 of 83 Page ID #:2716

         Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
     1
                      (Proposed)
     2
           substantially flat plate at the       “end plate” and “end plate coupled to
     3
           termination of the pile tip.”         the end of the cylindrical section, and
     4
           Claim Construction Order (D.E.        having a substantially flat surface
     5
           43).                                  disposed perpendicular to the centerline
     6
                                                 of the tubular pile…” (Claim 29 of the
     7
                                                 ‘708 patent), and Limitation 1E of
     8
                                                 claim 1 of the ‘236 patent, “an end
     9
                                                 plate fixedly attached to the second end
    10
                                                 of the pile tip, the end plate having a
    11
                                                 substantially flat surface disposed to
    12
                                                 the centerline of the tubular pile”. The
    13
                                                 quoted language is fair shorthand for
    14
                                                 the above lengthly claim sentences.
    15
         20.Defendants’ only noninfringement     Denied as argumentative and denied
    16
           argument cannot be applied to         based on the expert reports and
    17
           Claims 1-4, 25-28 and 31 of U.S.      declarations of Perko and Williams.
    18
           Pat. No. 9,284,708 because in those   While it is true that EDTTEX tips by
    19
           claims, no portion of the end plate is Defendants do not share the end plate,
    20
           required to be substantially flat.    that is not the only non-infringement
    21
           Yeh Decl., ¶ 6, Exh. D, Perko         argument.
    22
           Expert Report.                        Williams Dec., ¶¶2C-10, Perko Dec.,
    23
                                                 ¶¶5-13.
    24

    25
                                                 Also, patent ‘708 while a continuation
    26
                                                 of ‘236, deviates impermissibly in
    27

    28
                                                 -8-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 9 of 83 Page ID #:2717

         Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
     1
                          (Proposed)
     2
                                                  asserting that the end of the pile tip can
     3
                                                  be a “closing end” of any shape as
     4
                                                  opposed to a substantially flat surface
     5
                                                  and end plate, due to the ceding of that
     6
                                                  vaguer language “end cap” in the claim
     7
                                                  prosecution history in order to secure
     8
                                                  the underlying ‘236 patent at all.
     9
                                                  See Rice Dec., patent claims history,
    10
                                                  Ex.’s 29-30.
    11
         21.Defendants do not rely on advice of   Admitted.
    12
            counsel for defenses of either
    13
            noninfringement or invalidity.
    14
            Defendants produced no Advice of
    15
            Counsel materials pursuant to
    16
            S.P.R. 4.4.
    17
         Claim Construction
    18
         22.For purposes of the claims, “end      Admitted.
    19
            plate” needs no construction, and
    20
            should be given its ordinary
    21
            meaning as understood by one of
    22
            ordinary skill in the art.
    23

    24
            Claim Construction Order (D.E. 43)
    25
            at 11 (“After considering the
    26
            parties’ arguments, the Court finds
    27

    28
                                                 -9-
         DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
          OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 10 of 83 Page ID
                                 #:2718
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         no construction is necessary for the
  3
         term “end plate” in the context of
  4
         the claims.”).
  5
      23.The end plate is not limited to         Denied as argumentative and denied
  6
         embodiments having “a                   based on the expert reports and
  7
         substantially flat surface disposed     declarations of Perko and Williams.
  8
         perpendicular to the centerline of      While it is true that EDTTEX tips by
  9
         the tubular pile” except where that     Defendants do not share the end plate,
 10
         language appears in the claim.          that is not the only non-infringement
 11
                                                 argument.
 12
         Claim Construction Order (D.E. 43) Williams Dec., ¶¶2C-10, Perko Dec.,
 13
         at 10 (“Neither these portions of the   ¶¶5-13.
 14
         disclosure nor the remaining aspects
 15
         of the asserted patents’                Also, patent ‘708 while a continuation
 16
         specifications require that the end     of ‘236, deviates impermissibly in
 17
         plate is necessarily limited to being   asserting that the end of the pile tip can
 18
         substantially flat and perpendicular    be a “closing end” of any shape as
 19
         to the centerline.”); `236 Patent at    opposed to a substantially flat surface
 20
         2:12–13; 2:29–32; 2:55–57; 3:5–7;       and end plate, due to the ceding of that
 21
         4:26-28; 6:57-59.                       vaguer language “end cap” in the claim
 22
                                                 prosecution history in order to secure
 23
                                                 the underlying ‘236 patent at all.
 24
                                                 See Rice Dec., patent claims history,
 25
                                                 Ex.’s 29-30.
 26
      24.With respect to the end plate,          Admitted, but it means substantially
 27

 28
                                              -10-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 11 of 83 Page ID
                                 #:2719
       Plaintiff’s Undisputed Material Fact         Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         “substantially flat” does not mean       flat. How “substantially flat” a tip is
  3
         “flat.”                                  not defined in the Claims Construction
  4
         Claim Construction Order (D.E. 43) Order or the patent, but the Diagrams
  5
         at 10.                                   of patents ‘236 and ‘708 show the end
  6
                                                  plate to be essentially flat.
  7
      25.For claims that require an “end plate Admitted, but it means substantially
  8
         having a substantially flat surface      flat. How “substantially flat” a tip is
  9
         disposed perpendicular to the            not defined in the Claims Construction
 10
         centerline of the tubular pile” the      Order or the patent, but the Diagrams
 11
         entire end plate is not required to be   of patents ‘236 and ‘708 show the end
 12
         substantially flat.                      plate to be essentially flat.
 13
         Claim Construction Order (D.E. 43) The opposite is not true; that is, a
 14
         at 10 (“Defendants argue that            rounded end plate is not “substantially
 15
         “substantially flat” must mean “flat” flat” and Foundation’s EDTTEX tips
 16
         because “[o]nly a flat piece of metal are rounded or end in a spiral and are
 17
         can be ‘disposed perpendicular to        not flat or substantially flat.
 18
         the centerline of the tubular pile’ as   Williams Dec., ¶¶2C-10, Perko Dec.,
 19
         a matter of geometric principle.”        ¶¶5-13.
 20
         (Dkt. 32 at 3.) Defendants’              See also patent claims history, at Rice
 21
         argument would                           Dec., Ex.’s 29-30.
 22
         only apply if the end plate was
 23
         required to be perpendicular to the
 24
         centerline along the entire width of
 25
         the end plate. Defendants are not
 26
         arguing for such a limitation and
 27

 28
                                              -11-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 12 of 83 Page ID
                                 #:2720
       Plaintiff’s Undisputed Material Fact         Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         such a limitation is not found in the
  3
         claims or specification.”)
  4

  5
      26.For claims that require an “end plate Admitted, but it means substantially
         having a substantially flat surface      flat. How “substantially flat” a tip is
  6
         disposed perpendicular to the            not defined in the Claims Construction
  7
         centerline of the tubular pile” the      Order or the patent, but the Diagrams
  8
         end plate is not required to be          of patents ‘236 and ‘708 show the end
  9
         perpendicular to the centerline          plate to be essentially flat.
 10
         along the entire width of the end        The opposite is not true; that is, a
 11
         plate.                                   rounded end plate is not “substantially
 12
         Claim Construction Order (D.E. 43) flat” and Foundation’s EDTTEX tips
 13
         at 10 (“Defendants argue that            are rounded or end in a spiral and are
 14
         “substantially flat” must mean “flat” not flat or substantially flat.
 15
         because “[o]nly a flat piece of metal Williams Dec., ¶¶2C-10, Perko Dec.,
 16
         can be ‘disposed perpendicular to        ¶¶5-13.
 17
         the centerline of the tubular pile’ as   See also patent claims history, at Rice
 18
         a matter of geometric principle.”        Dec., Ex.’s 29-30.
 19
         (Dkt. 32 at 3.) Defendants’
 20
         argument would
 21
         only apply if the end plate was
 22
         required to be perpendicular to the
 23
         centerline along the entire width of
 24
         the end plate. Defendants are not
 25
         arguing for such a limitation and
 26
         such a limitation is not found in the
 27

 28
                                              -12-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 13 of 83 Page ID
                                 #:2721
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         claims or specification.”)
  3

  4
      27.For purposes of the claims,            Admitted.

  5
         “closing” means “blocking or
         eliminating the opening of.”
  6
         Claim Construction Order (D.E. 43)
  7
         at 6.
  8
      28.For purposes of the claims,            Admitted.
  9
         “coupled” means “connected” or
 10
         “joined.”
 11
         Claim Construction Order (D.E. 43)
 12
         at 6.
 13
      29.For purposes of the claims, “frustro- Admitted.
 14
         conical” means “having the shape of
 15
         cone with narrow end, or tip,
 16
         removed.”
 17
         Claim Construction Order (D.E. 43)
 18
         at 7.
 19
      30.For purposes of the claims,            Admitted.
 20
         “perpendicular” means “at or nearly
 21
         at a right angle, i.e., at 90° or
 22
         approximately 90° to another
 23
         element.”
 24
         Claim Construction Order (D.E. 43)
 25
         at 7.
 26
      31.For purposes of the claims, “fixedly   Admitted.
 27

 28
                                              -13-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 14 of 83 Page ID
                                 #:2722
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         attached” means “securely attached
  3
         and not readily moveable or
  4
         detachable.”
  5
         Claim Construction Order (D.E. 43)
  6
         at 17.
  7
      32.For purposes of the claims, “pile”   Admitted.
  8
         means “long column that provides
  9
         support as part of a foundation.”
 10
         Claim Construction Order (D.E. 43)
 11
         at 18-19.
 12
      Claim Elements Found in Accused Instrumentalities or Accused Methods
 13
      33.Defendants’ EDTTEX piles have a      Admitted but this is not novel and
 14
         substantially constant diameter      exists in all screw piles and been
 15
         throughout a length of the pile.     preceded by prior art since at least
 16
         Declaration of Dr. Rand Decker In    Moseley, US 1870, 108,814.
 17
         Support of Plaintiffs’ Motion        Williams Dec., ¶¶2C-10, Perko Dec.,
 18
         (“Decker Decl.”), ¶¶ 45-46.          ¶¶5-13.
 19
         Yeh Decl., ¶ 5.
 20
                                              Perko Dec. ¶¶ 14-44 and Williams,
 21
                                              ¶¶12-41 (addressing in order and by
 22
                                              paragraph, each of Dr. Rand Decker’s
 23
                                              opinions in his declaration filed in
 24
                                              support of motion).
 25

 26
      34.Defendants’ EDTTEX piles include     Admitted but this is not novel and
 27

 28
                                              -14-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 15 of 83 Page ID
                                 #:2723
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         a tubular pile with a centerline.       exists in all screw piles and been
  3
         Admitted by Defendants.                 preceded by prior art since at least
  4
         Complaint (D.E. 1) at ¶ 26; Answer      Moseley, US 1870, 108,814.
  5
         (D.E. 15) at ¶ 26.                      Williams Dec., ¶¶2C-10, Perko Dec.,
  6
         Decker Decl., ¶¶ 45-46.                 ¶¶5-13.
  7
                                                 Perko Dec. ¶¶ 14-44 and Williams,
  8
                                                 ¶¶12-41 (addressing in order and by
  9
                                                 paragraph, each of Dr. Rand Decker’s
 10
                                                 opinions in his declaration filed in
 11
                                                 support of motion).
 12

 13

 14
      35.Defendants’ EDTTEX piles include        Admitted but this is not novel and
 15
         attaching tubular piles to one          exists in all screw piles and been
 16
         another using welds.                    preceded by prior art since at least
 17
         Admitted by Defendants.                 Moseley, US 1870, 108,814, as well as
 18
         Complaint (D.E. 1) at ¶ 27; Answer      Verstraeten, 1986, ‘4,623,025.
 19
         (D.E. 15) at ¶ 27; Yeh Decl., ¶ 3,      Williams Dec., ¶¶2C-10, Perko Dec.,
 20
         Exh. A, Williams Depo, 198:15-          ¶¶5-13.
 21
         199:2; 199:24-200:2; 247:7-248:14.      See Patent Claim History, Rice Dec.,
 22
                                                 Ex.’s 29-30.
 23
      36.Defendants’ EDTTEX piles include        Admitted.
 24
         a substantially conically shaped pile
 25
         tip.
 26
         Admitted by Defendants.
 27

 28
                                              -15-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 16 of 83 Page ID
                                 #:2724
       Plaintiff’s Undisputed Material Fact          Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         Complaint (D.E. 1) at ¶ 28; Answer
  3
         (D.E. 15) at ¶ 28.
  4

  5
      37.In Defendants’ EDTTEX piles, a            Admitted.
         pile tip is attached to the tubular
  6
         pile.
  7
         Admitted by Defendants.
  8
         Complaint (D.E. 1) at ¶ 44; Answer
  9
         (D.E. 15) at ¶ 44.
 10
      38.Defendants’ EDTTEX piles include          Denied when phrased in the compound
 11
         a helical flight on the exterior of the   sense.
 12
         pile tip.                                 EDTTEX 1, discontinued ordering in
 13
         Admitted by Defendants.                   2009, has helical flights.
 14
         Complaint (D.E. 1) at ¶ 29; Answer        EDTTEX 2M and 3 claimed to infringe
 15
         (D.E. 15) at ¶ 29.                        have stepped tips or stepped flights
 16
                                                   rather than helicals. The Answer
 17
                                                   referreed to EDTTEX 1 only, not all
 18
                                                   the EDTTEX piles, as until March 29,
 19
                                                   2019, only EDTTEX 1 was claimed to
 20
                                                   infringe.
 21
                                                   Helical flights not novel and exists in
 22
                                                   all screw piles and been preceded by
 23
                                                   prior art since at least Moseley, US
 24
                                                   1870, 108,814.
 25
                                                   Williams Dec., ¶¶2C-10, Perko Dec.,
 26
                                                   ¶¶5-13.
 27

 28
                                              -16-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 17 of 83 Page ID
                                 #:2725
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                                Rice Dec., para. 16.
  3

  4

  5
      39.Defendants’ EDTTEX piles include       Denied when phrased in the compound
         a helical flight that extends along    sense as not all the EDTTEX piles have
  6
         the exterior surface for a distance of helicals.
  7
         at least one quarter of a              EDTTEX 1, discontinued ordering in
  8
         circumference of the portion of the    2009, has helical flights.
  9
         shaped pile tip.                       EDTTEX 2M and 3 that are claimed to
 10
         Admitted by Defendants.                infringe have stepped tips or stepped
 11
         Complaint (D.E. 1) at ¶ 30; Answer     flights rather than helicals, like a
 12
         (D.E. 15) at ¶ 30.                     wedding cake shape. The Answer
 13
                                                referreed to EDTTEX 1 only, not all
 14
                                                the EDTTEX piles, as until March 29,
 15
                                                2019, only EDTTEX 1 was claimed to
 16
                                                infringe.
 17
                                                Helical flights not novel and exists in
 18
                                                all screw piles and been preceded by
 19
                                                prior art since at least Moseley, US
 20
                                                1870, 108,814.
 21
                                                Williams Dec., ¶¶2C-10, Perko Dec.,
 22
                                                ¶¶5-13.
 23
                                                Rice Dec., para. 16.
 24

 25
      40.The pile tip of Defendants’            Denied.
 26
         EDTTEX piles has a first end and a     EDTTEX 1 has a third end and a fourth
 27

 28
                                              -17-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 18 of 83 Page ID
                                 #:2726
       Plaintiff’s Undisputed Material Fact          Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         second end.                               end, as below the tapered section (first
  3
         Admitted by Defendants.                   and second end), there is a smaller
  4
         Complaint (D.E. 1) at ¶ 31; Answer        cylindrical section or added section not
  5
         (D.E. 15) at ¶ 31.                        part of the Plaintiffs’ patent claims.
  6
                                                   EDTTEX 2 and 3 are conical cast tips
  7
                                                   and do not have a second end, but
  8
                                                   come to a tip, and not an end plate, nor
  9
                                                   a flat end plate.
 10
                                                   Williams Dec., ¶¶2C-10, Perko Dec.,
 11
                                                   ¶¶5-13.
 12
                                                   Rice Dec., para. 16.
 13

 14
      41.In Defendants’ EDTTEX piles, the          Denied.
 15
         first end of the pile tip attaches to a   EDTTEX 1 has a third end and a fourth
 16
         tubular pile.                             end, as below the tapered section (first
 17
         Admitted by Defendants.                   and second end), there is a smaller
 18
         Complaint (D.E. 1) at ¶ 32; Answer        cylindrical section or added section not
 19
         (D.E. 15) at ¶ 32.                        part of the Plaintiffs’ patent claims.
 20
                                                   EDTTEX 2 and 3 are conical cast tips
 21
                                                   and do not have a second end, but
 22
                                                   come to a tip, and not an end plate, nor
 23
                                                   a flat end plate.
 24
                                                   Williams Dec., ¶¶2C-10, Perko Dec.,
 25
                                                   ¶¶5-13.
 26
                                                   Rice Dec., para. 16.
 27

 28
                                              -18-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 19 of 83 Page ID
                                 #:2727
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2

  3

  4
      42.Defendants’ EDTTEX piles include      Denied.

  5
         an end plate attached to the second   EDTTEX 1 has a third end and a fourth
         end of the pile tip.                  end, as below the tapered section (first
  6
         Admitted by Defendants.               and second end), there is a smaller
  7
         Complaint (D.E. 1) at ¶ 33; Answer    cylindrical section or added section not
  8
         (D.E. 15) at ¶ 33.                    part of the Plaintiffs’ patent claims.
  9
                                               EDTTEX 2 and 3 are conical cast tips
 10
                                               and do not have a second end, but
 11
                                               come to a tip, and not an end plate, nor
 12
                                               a flat end plate.
 13
                                               Williams Dec., ¶¶2C-10, Perko Dec.,
 14
                                               ¶¶5-13.
 15
                                               Rice Dec., para. 16.
 16

 17
      43.Defendants’ EDTTEX piles include      Denied when phrased in the compound
 18
         a protrusion extending from the end   sense to include all three or four
 19
         plate.                                EDTTEX variations. These are taken
 20
         Admitted by Defendants.               one by one.
 21
         Complaint (D.E. 1) at ¶ 34; Answer
 22
         (D.E. 15) at ¶ 34.                    EDTTEX 1, discontinued ordering in
 23
                                               2009, has a small nozzle tip to receive
 24
                                               a traditional drill bit end and is not in
 25
                                               that sense an end plate. It is briefly flat
 26
                                               and perpendicular to the centerline of
 27

 28
                                              -19-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 20 of 83 Page ID
                                 #:2728
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                                the pile.
  3
                                                EDTTEX 2M and 3 claimed to infringe
  4
                                                can have a drill bit welded at the end.
  5
                                                Sometimes called a stabbing point, or
  6
                                                point shaft.
  7
                                                The Answer referreed to EDTTEX 1
  8
                                                only, not all the EDTTEX piles, as
  9
                                                until March 29, 2019, only EDTTEX 1
 10
                                                was claimed to infringe.
 11
                                                Protrusions or stabbing points to center
 12
                                                the pile at the survey location per the
 13
                                                design are not novel and exists in all
 14
                                                screw piles and been preceded by prior
 15
                                                art since at least Moseley, US 1870,
 16
                                                108,814.
 17
                                                Williams Dec., ¶¶2C-10, Perko Dec.,
 18
                                                ¶¶5-13.
 19
                                                Rice Dec., para. 16.
 20

 21
      44.Defendants’ EDTTEX piles are           Admitted. This is not novel and
 22
         filled with concrete and attached to   preceding art including Verstraeten
 23
         a pile cap that includes concrete and includes filling the steel shell with
 24
         reinforcing steel.                     concrete, as does Moseley.
 25
         Admitted by Defendants.                Admitted but this is not novel and
 26
         Complaint (D.E. 1) at ¶ 35; Answer     exists in all screw piles and been
 27

 28
                                              -20-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 21 of 83 Page ID
                                 #:2729
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         (D.E. 15) at ¶ 35.                   preceded by prior art since at least
  3
                                              Moseley, US 1870, 108,814, as well as
  4
                                              Verstraeten, 1986, ‘4,623,025.
  5
                                              Williams Dec., ¶¶2C-10, Perko Dec.,
  6
                                              ¶¶5-13.
  7

  8
      45.EDTTEX tip ED1 has a tapered         Admitted.
  9
         portion.
 10
         Decker ¶¶ 47, 48
 11
      46.EDTTEX tip ED1 has a frusto-         Admitted, though the tapered section is
 12
         conical section.                     shorter and more sever than the Neville
 13
         Decker ¶ 66;                         patents, and is followed by a second,
 14
         Yeh Decl., ¶ 6, Exh. D, Perko        smaller cylindrical, non-tapered section
 15
         Expert Report at 1 (“Foundation      before its receiving end, that is not part
 16
         pile tip ED1 consists of a funnel    of the Neville claims.
 17
         shape with two blades spiraling up   Williams Dec., ¶¶2C-10, Perko Dec.,
 18
         the surface.”)                       ¶¶5-13.
 19

 20
      47.EDTTEX tip ED2M has a tapered        Denied. The tip is a cast cone or
 21
         portion.                             cylindrical cone and not tapered.
 22
         Yeh Decl., ¶ 3, Exh. A, Williams     Williams Dec., ¶¶2C-10, Perko Dec.,
 23
         Depo, 157:24-158:8; 168:3-11;        ¶¶5-13.
 24
         TPS001249 (Ex. 154);                 A Stepped tapered spiral is not a
 25
         Decker ¶¶ 47, 48;                    tapered section of the pile as in
 26
         Yeh Decl., ¶ 6, Exh. D, Perko        Neville’s patents. It is a stepped taper
 27

 28
                                              -21-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 22 of 83 Page ID
                                 #:2730
       Plaintiff’s Undisputed Material Fact         Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         Expert Report at 1 (“Foundation          spiral. See Perko Report and Dec. ¶¶5-
  3
         pile tips ED2 and ED3 consist of a       13.
  4
         stepped tapered spiral of varying        Perko Dec. ¶¶ 14-44 and Williams,
  5
         geometry.”)                              ¶¶12-41 (addressing in order and by
  6
                                                  paragraph, each of Dr. Rand Decker’s
  7
                                                  opinions in his declaration filed in
  8
                                                  support of motion).
  9

 10
 11
      48.Foundation sometimes refers to           Admitted.
 12
         EDTTEX tip ED2M as a “stepped
 13
         taper.”
 14
         Yeh Decl., ¶ 3, Exh. A, Williams
 15
         Depo, 157:24-158:8; 168:3-11;
 16
         TPS001249 (Ex. 154); Yeh Decl., ¶
 17
         6, Exh. D, Perko Expert Report at 1
 18
         (“Foundation pile tips ED2 and ED3
 19
         consist of a stepped tapered spiral of
 20
         varying geometry.”)
 21
      49.EDTTEX tip ED3 tip has a tapered         It has a stepped tapered spiral, which is
 22
         portion.                                 unlike Neville’s pile tips which have no
 23
         Yeh Decl., ¶ 3, Exh. A, Williams         spiral, and have a taper before a
 24
         Depo, 157:24-158:8; 168:3-11;            substantially flat end plate. The words
 25
         TPS001249 (Ex. 154);                     and terms are not interchangeable and
 26
         Decker ¶¶ 47, 48;                        are not referring to the same shapes. In
 27

 28
                                              -22-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 23 of 83 Page ID
                                 #:2731
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
         Yeh Decl., ¶ 6, Exh. D, Perko        that regard, while the quotation from
  3
         Expert Report at 1 (“Foundation      Perko’s report is admitted, the
  4
         pile tips ED2 and ED3 consist of a   rephrasing of it in this alleged fact is
  5
         stepped tapered spiral of varying    denied.
  6
         geometry.”)                          Williams Dec., ¶¶2C-10, Perko Dec.,
  7
                                              ¶¶5-13.
  8
                                              Perko Dec. ¶¶ 14-44 and Williams,
  9
                                              ¶¶12-41 (addressing in order and by
 10
                                              paragraph, each of Dr. Rand Decker’s
 11
                                              opinions in his declaration filed in
 12
                                              support of motion).
 13

 14

 15
      50.Foundation sometimes refers to       Admitted, however the reference to a
 16
         EDTTEX tip ED3 as a “stepped         stepped taper is not interchangeable
 17
         taper.”                              with the Neville claims where the taper
 18
         Yeh Decl., ¶ 3, Exh. A, Williams     is before a flat plate and has no spiral
 19
         Depo, 157:24-158:8; 168:3-11;        or stepped tips.
 20
         TPS001249 (Ex. 154);
 21
         Yeh Decl., ¶ 6, Exh. D, Perko        Williams Dec., ¶¶2C-10, Perko Dec.,
 22
         Expert Report at 1 (“Foundation      ¶¶5-13.
 23
         pile tips ED2 and ED3 consist of a
 24
         stepped tapered spiral of varying
 25
         geometry.”)
 26
      51.Foundation’s internal designation    Admitted.
 27

 28
                                              -23-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 24 of 83 Page ID
                                 #:2732
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                      (Proposed)
  2
         TT2 Modified Stepped Taper refers
  3
         to the EDTTEX tips ED2M and
  4
         ED3
  5
         Yeh Decl., ¶ 3, Exh. A, Williams
  6
         Depo, 157:24-158:8; 168:3-11;
  7
         TPS001249 (Ex. 154).
  8
      52.The EDTTEX tip ED1 includes a         Admitted.
  9
         substantially conical portion.
 10
         Decker Decl., ¶¶ 83-84;
 11
         Yeh Decl., ¶ 3, Exh. A, Williams
 12
         Depo, 26:4-13;
 13
         see also admission by defendants
 14
         that “EDTTEX piles include a
 15
         substantially conically shaped pile
 16
         tip.” Complaint (D.E. 1) at ¶ 28;
 17
         Answer (D.E. 15) at ¶ 28; Yeh
 18
         Decl., ¶ 6, Exh. D, Perko Expert
 19
         Report at 1 (“Foundation pile tip
 20
         ED1 consists of a funnel shape with
 21
         two blades spiraling up the
 22
         surface.”)
 23
      53.The EDTTEX tip ED2M includes a        Admitted.
 24
         substantially conical portion.
 25
         Decker Decl., ¶¶ 83-84;
 26
         see also admission by defendants
 27

 28
                                              -24-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 25 of 83 Page ID
                                 #:2733
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         that “EDTTEX piles include a
  3
         substantially conically shaped pile
  4
         tip.” Complaint (D.E. 1) at ¶ 28;
  5
         Answer (D.E. 15) at ¶ 28; Yeh
  6
         Decl., ¶ 6, Exh. D, Perko Expert
  7
         Report at 1 (“A spade, fish-tale, or
  8
         other protrusion can be attached to
  9
         the conical nose of the drill tips
 10
         depending on ground
 11
         conditions.”)(emphasis added).
 12
      54.The EDTTEX tip ED3 includes a          Admitted.
 13
         substantially conical portion.
 14
         Decker Decl., ¶¶ 83-84;
 15
         see also admission by defendants
 16
         that “EDTTEX piles include a
 17
         substantially conically shaped pile
 18
         tip.” Complaint (D.E. 1) at ¶ 28;
 19
         Answer (D.E. 15) at ¶ 28; Yeh
 20
         Decl., ¶ 6, Exh. D, Perko Expert
 21
         Report at 1 (“A spade, fish-tale, or
 22
         other protrusion can be attached to
 23
         the conical nose of the drill tips
 24
         depending on ground
 25
         conditions.”)(emphasis added).
 26

 27

 28
                                              -25-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 26 of 83 Page ID
                                 #:2734
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
      55. The EDTTEX tip ED1 has a closed     Admitted, however, all close-end piles
  3
         end.                                 have a close end, and this is not novel
  4
         Decker Decl., ¶¶ 53, 61;             and has existed since Moseley, 1870,
  5
         Yeh Decl., ¶ 3, Exh. A, Williams     108,814.
  6
         Depo, 83:4-12.                       Williams Dec., ¶¶2C-10, Perko Dec.,
  7
                                              ¶¶5-13.
  8
                                              Perko Dec. ¶¶ 14-44 and Williams,
  9
                                              ¶¶12-41 (addressing in order and by
 10
                                              paragraph, each of Dr. Rand Decker’s
 11
                                              opinions in his declaration filed in
 12
                                              support of motion).
 13

 14

 15

 16
      56. The EDTTEX tip ED2M has a           Admitted, however, all close-end piles
 17
         closed end.                          have a close end, and this is not novel
 18
         Decker Decl., ¶¶ 53-55, 57;          and has existed since Moseley, 1870,
 19
         Yeh Decl., ¶ 3, Exh. A, Williams     108,814.
 20
         Depo, 83:4-12.                       Williams Dec., ¶¶2C-10, Perko Dec.,
 21
                                              ¶¶5-13.
 22
                                              Perko Dec. ¶¶ 14-44 and Williams,
 23
                                              ¶¶12-41 (addressing in order and by
 24
                                              paragraph, each of Dr. Rand Decker’s
 25
                                              opinions in his declaration filed in
 26
                                              support of motion).
 27

 28
                                              -26-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 27 of 83 Page ID
                                 #:2735
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2

  3

  4

  5
      57. The EDTTEX tip ED3 has a closed       Admitted, however, all close-end piles
         end.                                   have a close end, and this is not novel
  6
         Decker Decl., ¶¶ 53-60;                and has existed since Moseley, 1870,
  7
         Yeh Decl., ¶ 3, Exh. A, Williams       108,814.
  8
         Depo, 83:4-12.                         Williams Dec., ¶¶2C-10, Perko Dec.,
  9
                                                ¶¶5-13.
 10
                                                Perko Dec. ¶¶ 14-44 and Williams,
 11
                                                ¶¶12-41 (addressing in order and by
 12
                                                paragraph, each of Dr. Rand Decker’s
 13
                                                opinions in his declaration filed in
 14
                                                support of motion).
 15

 16
      58. The EDTTEX tip ED1 has a helical Admitted. As do hundreds of pile tips
 17
         flight.                                for screw piles since Moseley, 1870,
 18
         Decker Decl., ¶ 52;                    108,814.
 19
         Yeh Decl., ¶ 3, Exh. A, Williams       Williams Dec., ¶¶2C-10, Perko Dec.,
 20
         Depo, 64:4-65:14;                      ¶¶5-13.
 21
         see also admission by Defendants       Perko Dec. ¶¶ 14-44 and Williams,
 22
         that “Defendants’ EDTTEX piles         ¶¶12-41 (addressing in order and by
 23
         include a helical flight on the        paragraph, each of Dr. Rand Decker’s
 24
         exterior of the pile tip.” Complaint   opinions in his declaration filed in
 25
         (D.E. 1) at ¶ 29; Answer (D.E. 15)     support of motion).
 26
         at ¶ 29; and admission that
 27

 28
                                              -27-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 28 of 83 Page ID
                                 #:2736
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         “Defendants’ EDTTEX piles
  3
         include a helical flight that extends
  4
         along the exterior surface for a
  5
         distance of at least one quarter of a
  6
         circumference of the portion of the
  7
         shaped pile tip.” Complaint (D.E. 1)
  8
         at ¶ 30; Answer (D.E. 15) at ¶ 30.
  9

 10
      59. The EDTTEX tip ED2M has a              The tips are properly characterized as
 11
         helical flight.                         stepped flights, rather than helical
 12
         Decker Decl., ¶ 52;                     flights. The admission was as to
 13
         Yeh Decl., ¶ 3, Exh. A, Williams        EDTTEX 1 only as until March 29,
 14
         Depo, 42:21-44:16; 45:4-6; 51:24-       2019 the only pile tip being claimed to
 15
         52:6; 92:25-93:6;                       infringe was EDTTEX 1, not EDTTEX
 16
         see also admission by Defendants        2, 2M or 3.
 17
         that “Defendants’ EDTTEX piles
 18
         include a helical flight on the         The EDTTEX 2, 2M and 3 pile tips are
 19
         exterior of the pile tip.” Complaint    stepped tips, not helical tips. The
 20
         (D.E. 1) at ¶ 29; Answer (D.E. 15)      patents themselves depict these shapes.
 21
         at ¶ 29; and admission that             Williams Dec., ¶¶2C-10, Perko Dec.,
 22
         “Defendants’ EDTTEX piles               ¶¶5-13.
 23
         include a helical flight that extends   The phrasing of the patent 8,727,668
 24
         along the exterior surface for a        embodying ED 2,at claim 1 itself is
 25
         distance of at least one quarter of a   different than helical flights and uses
 26
         circumference of the portion of the     the phrases “plurality of circular
 27

 28
                                              -28-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 29 of 83 Page ID
                                 #:2737
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
         shaped pile tip.” Complaint (D.E. 1) stepped flights” and “plurality of
  3
         at ¶ 30; Answer (D.E. 15) at ¶ 30.    circular stepped flights” or sometimes,
  4
                                               stepped helical flights:
  5

  6
                                               A drill tip for a foundation pile
  7
                                               comprising: a soil penetrating body
  8
                                               including a plurality of circular
  9
                                               stepped flights and a lower end, said
 10
                                               plurality of circular stepped flights
 11
                                               formed generally in the shape of a
 12
                                               descending continuous conic spiral,
 13
                                               said plurality of flights having a
 14
                                               continuous spiral-shaped lower face
 15
                                               and a continuous outer face
 16
                                               intersecting said lower face, said lower
 17
                                               end having a pilot tip having a
 18
                                               generally conical center structure
 19
                                               surrounded by a plurality of
 20
                                               downwardly extending soil disturbing
 21
                                               blades, said blades having lowermost
 22
                                               portions extending below said conical
 23
                                               center structure in a configuration
 24
                                               resembling a swiveling fish tail. “
 25

 26
                                               Perko Dec. ¶¶ 14-44 and Williams,
 27

 28
                                              -29-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 30 of 83 Page ID
                                 #:2738
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                                 ¶¶12-41 (addressing in order and by
  3
                                                 paragraph, each of Dr. Rand Decker’s
  4
                                                 opinions in his declaration filed in
  5
                                                 support of motion).
  6

  7
      60. The EDTTEX tip ED3 has a helical The tips are properly characterized as
  8
         flight.                                 stepped flights, rather than helical
  9
         Decker Decl., ¶ 52;                     flights. The admission was as to
 10
         Yeh Decl., ¶ 3, Exh. A, Williams        EDTTEX 1 only as until March 29,
 11
         Depo, 42:21-44:16; 45:4-6; 51:24-       2019 the only pile tip being claimed to
 12
         52:6; 92:25-93:6;                       infringe was EDTTEX 1, not EDTTEX
 13
         see also admission by Defendants        2, 2M or 3.
 14
         that “Defendants’ EDTTEX piles
 15
         include a helical flight on the         The EDTTEX 2, 2M and 3 pile tips are
 16
         exterior of the pile tip.” Complaint    stepped tips, not helical tips. The
 17
         (D.E. 1) at ¶ 29; Answer (D.E. 15)      patents themselves depict these shapes.
 18
         at ¶ 29; and admission that             Williams Dec., ¶¶2C-10, Perko Dec.,
 19
         “Defendants’ EDTTEX piles               ¶¶5-13.
 20
         include a helical flight that extends   The phrasing of the patent 10,190,280
 21
         along the exterior surface for a        embodying ED 3 ,at claim 1 itself is
 22
         distance of at least one quarter of a   different than helical flights and uses
 23
         circumference of the portion of the     the phrases “plurality of circular
 24
         shaped pile tip.” Complaint (D.E. 1) stepped flights” and “plurality of
 25
         at ¶ 30; Answer (D.E. 15) at ¶ 30.      circular stepped flights” and “a
 26
                                                 continuous spiral-shaped lower face:
 27

 28
                                              -30-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 31 of 83 Page ID
                                 #:2739
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              or sometimes, stepped helical flights:”
  3

  4
                                              “1. A drill tip for a foundation pile
  5
                                              comprising: a plurality of circular
  6
                                              stepped flights formed generally in the
  7
                                              shape of a descending continuous conic
  8
                                              spiral organized around a center axis,
  9
                                              said plurality of flights having a
 10
                                              continuous spiral-shaped lower face, a
 11
                                              continuous outer face, and a lower end,
 12
                                              said outer face intersecting said lower
 13
                                              face, said outer face having a lower
 14
                                              edge and a continuous spiral flight
 15
                                              extending radially outwardly from said
 16
                                              lower edge, and the lower end of said
 17
                                              plurality of stepped flights including a
 18
                                              pilot tip having a generally conical
 19
                                              center structure surrounded by a
 20
                                              plurality of downwardly extending soil
 21
                                              disturbing blades having lowermost
 22
                                              portions extending below said conical
 23
                                              center structure in a configuration
 24
                                              resembling a swiveling fish tail.”
 25

 26
                                              Perko Dec. ¶¶ 14-44 and Williams,
 27

 28
                                              -31-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 32 of 83 Page ID
                                 #:2740
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                                 ¶¶12-41 (addressing in order and by
  3
                                                 paragraph, each of Dr. Rand Decker’s
  4
                                                 opinions in his declaration filed in
  5
                                                 support of motion).
  6

  7
      61.Foundation attached an EDTTEX           Admitted, though that is not novel and
  8
         tip ED1 to a tubular pile with a        pre-dates Plaintiff to at least Moseley,
  9
         substantially constant diameter.        1870, US 1870.
 10
         Decker Decl., ¶¶ 45-46;
 11
         Yeh Decl., ¶ 3, Exh. A, Williams
 12
         Depo, 64:4-8 (Ex. 121);
 13
         Yeh Decl., ¶ 19 FCI-00498, 00500;
 14
         see also Defendants’ admissions “In
 15
         Defendants’ EDTTEX piles, a pile
 16
         tip is attached to the tubular pile.”
 17
         Complaint (D.E. 1) at ¶ 44; Answer
 18
         (D.E. 15) at ¶ 44;
 19
         see also Yeh Decl., ¶ 6, Exh. D,
 20
         Perko Expert Report at 2 (“Tubular
 21
         cylindrical piles of constant
 22
         diameter are obvious common
 23
         practice in deep foundation
 24
         construction.”)
 25
      62.Foundation attached an EDTTEX           Admitted, though that is not novel and
 26
         tip ED1 to a tubular pile with a        pre-dates Plaintiff to at least Moseley,
 27

 28
                                              -32-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 33 of 83 Page ID
                                 #:2741
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                       (Proposed)
  2
         centerline.                             1870, US 1870.
  3
         Decker Decl., ¶¶ 45-46;
  4
         Yeh Decl., ¶ 3, Exh. A, Williams
  5
         Depo, 64:4-8 (Ex 121);
  6
         Yeh Decl., ¶ 19 FCI-00498, 00500;
  7
         see also Defendants’ admission “In
  8
         Defendants’ EDTTEX piles, a pile
  9
         tip is attached to the tubular pile.”
 10
         Complaint (D.E. 1) at ¶ 44; Answer
 11
         (D.E. 15) at ¶ 44; and admission
 12
         “Defendants’ EDTTEX piles
 13
         include a tubular pile with a
 14
         centerline” Complaint (D.E. 1) at ¶
 15
         26; Answer (D.E. 15) at ¶ 26.
 16
      63.Foundation attaches EDTTEX tip          Admitted, though that is not novel and
 17
         ED2M to a tubular pile with a           pre-dates Plaintiff to at least Moseley,
 18
         substantially constant diameter.        1870, US 1870.
 19
         Decker Decl., ¶¶ 45-46;
 20
         Yeh Decl., ¶ 3, Exh. A, Williams
 21
         Depo, 221:6-222:11 Ex. 181
 22
         (TPS003562-3564, 3567, 3571,
 23
         3572)
 24
      64.Foundation attaches EDTTEX tip          Admitted, though that is not novel and
 25
         ED2M to a tubular pile with a           pre-dates Plaintiff to at least Moseley,
 26
         centerline.                             1870, US 1870.
 27

 28
                                              -33-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 34 of 83 Page ID
                                 #:2742
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                       (Proposed)
  2
         Decker Decl., ¶¶ 45-46;
  3
         Yeh Decl., ¶ 3, Exh. A, Williams
  4
         Depo, 221:6-222:11 Ex. 181
  5
         (TPS003562-3564, 3567, 3571,
  6
         3572)
  7

  8
      65.Foundation attaches EDTTEX tip       Admitted, though that is not novel and
  9
         ED3 to a tubular pile with a         pre-dates Plaintiff to at least Moseley,
 10
         substantially constant diameter.     1870, US 1870.
 11
         Decker Decl., ¶¶ 45-46;
 12
         Yeh Decl., ¶ 3, Exh. A, Williams
 13
         Depo, 160:15-164:16 Ex. 153 (FCI
 14
         02967); 172:20-173:13 (Ex 158);
 15
         191:17-192:20 (TPS-003315/Ex
 16
         165)
 17
      66.Foundation attaches EDTTEX tip       Admitted, though that is not novel and
 18
         ED3 to a tubular pile with a         pre-dates Plaintiff to at least Moseley,
 19
         centerline.                          1870, US 1870.
 20
         Decker Decl., ¶¶ 45-46;
 21
         Yeh Decl., ¶ 3, Exh. A, Williams
 22
         Depo, 160:15-164:16 Ex. 153 (FCI
 23
         02967); 172:20-173:13 (Ex 158);
 24
         191:17-192:20 (TPS-003315/Ex
 25
         165)
 26
      67.Foundation forms a screw pile by     Admitted, though that is not novel and
 27

 28
                                              -34-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 35 of 83 Page ID
                                 #:2743
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         attaching one or more tubular piles   pre-dates Plaintiff to at least Moseley,
  3
         to an EDTTEX tip ED1.                 1870, US 1870.
  4
         Decker Decl., ¶¶ 66, 83, 84;
  5
         See admission by Defendants that
  6
         “In Defendants’ EDTTEX piles, a
  7
         pile tip is attached to the tubular
  8
         pile.” (D.E. 1) at ¶ 44; Answer
  9
         (D.E. 15) at ¶ 44; and fact that
 10
         EDTTEX tips include ED1 (Yeh
 11
         Decl., ¶ 3, Exh. A, Williams Depo,
 12
         34:15-25; 51:9-52:6; 84:16-22; Exh.
 13
         116, 117)
 14
      68.Foundation forms a screw pile by      Admitted, though that is not novel and
 15
         attaching one or more tubular piles   pre-dates Plaintiff to at least Moseley,
 16
         to an EDTTEX tip ED2M.                1870, US 1870.
 17
         Decker Decl., ¶¶ 66, 83, 84;
 18
         See admission by Defendants that
 19
         “In Defendants’ EDTTEX piles, a
 20
         pile tip is attached to the tubular
 21
         pile.” (D.E. 1) at ¶ 44; Answer
 22
         (D.E. 15) at ¶ 44; and fact that
 23
         EDTTEX tips include ED2M (Yeh
 24
         Decl., ¶ 3, Exh. A, Williams Depo,
 25
         34:15-25; 51:9-52:6; 84:16-22; Exh.
 26
         116, 117)
 27

 28
                                              -35-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 36 of 83 Page ID
                                 #:2744
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                       (Proposed)
  2
      69.Foundation forms a screw pile by       Admitted, though that is not novel and
  3
         attaching one or more tubular piles    pre-dates Plaintiff to at least Moseley,
  4
         to an EDTTEX tip ED3.                  1870, US 1870.
  5
         Decker Decl., ¶¶ 66, 83, 84;
  6
         See admission by Defendants that
  7
         “In Defendants’ EDTTEX piles, a
  8
         pile tip is attached to the tubular
  9
         pile.” (D.E. 1) at ¶ 44; Answer
 10
         (D.E. 15) at ¶ 44; and fact that
 11
         EDTTEX tips include ED3 (Yeh
 12
         Decl., ¶ 3, Exh. A, Williams Depo,
 13
         34:15-25; 51:9-52:6; 84:16-22; Exh.
 14
         116, 117)
 15
      70.When installing EDTTEX piles,          Admitted, though that is not novel and
 16
         Foundation attaches a drill rig to the pre-dates Plaintiff to at least Moseley,
 17
         screw pile.                            1870, US 1870, and in the modern era,
 18
         Decker Decl., ¶¶ 64-65;                since at least Verstraeten, US Patent
 19
         Yeh Decl., ¶ 3, Exh. A, Williams       4,458,765, 1986.
 20
         Depo, 160:15-162:17; 191:17-           Williams Dec., ¶¶2C-10, Perko Dec.,
 21
         194:17, Ex 165 (TPS003314-             ¶¶5-13.
 22
         003316); 197:2-198:14; Yeh Decl.,      Perko Dec. ¶¶ 14-44 and Williams,
 23
         ¶ 18, Exh. P, FCI-00288;               ¶¶12-41 (addressing in order and by
 24
         Yeh Decl., ¶ 19, Exh. Q, FCI-          paragraph, each of Dr. Rand Decker’s
 25
         00498, 00500, 00509, 00527,            opinions in his declaration filed in
 26
         00528, 00537, 01070, 02214, 02867 support of motion).
 27

 28
                                              -36-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 37 of 83 Page ID
                                 #:2745
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2

  3

  4

  5
      71.When installing EDTTEX piles,          Admitted, though that is not novel and
  6
         Foundation positions the screw pile    pre-dates Plaintiff to at least Moseley,
  7
         above a preselected location of        1870, US 1870, and in the modern era,
  8
         ground.                                since at least Verstraeten, US Patent
  9
         Decker Decl., ¶¶ 64-65;                4,458,765, 1986.
 10
         Yeh Decl., ¶ 3, Exh. A,                Williams Dec., ¶¶2C-10, Perko Dec.,
 11
         Yeh Decl., ¶ 18, Exh. P, FCI-00288, ¶¶5-13.
 12
         Yeh Decl., ¶ 19, Exh. Q, FCI-          Perko Dec. ¶¶ 14-44 and Williams,
 13
         00498, 00500, 01070                    ¶¶12-41 (addressing in order and by
 14
         Yeh Decl., ¶ 17, Exh. O, 02429         paragraph, each of Dr. Rand Decker’s
 15
                                                opinions in his declaration filed in
 16
                                                support of motion).
 17

 18

 19
      72.When installing EDTTEX piles,          Admitted, though that is not novel and
 20
         Foundation rotates the screw pile to   pre-dates Plaintiff to at least Moseley,
 21
         facilitate penetration into the        1870, US 1870, and in the modern era,
 22
         ground.                                since at least Verstraeten, US Patent
 23
         Decker Decl., ¶¶ 64-65;                4,458,765, 1986.
 24
         Yeh Decl., ¶ 3, Exh. A, Williams       Williams Dec., ¶¶2C-10, Perko Dec.,
 25
         Depo, 161:23-162:17                    ¶¶5-13.
 26
         (accompanying Ex 153, also             Perko Dec. ¶¶ 14-44 and Williams,
 27

 28
                                              -37-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 38 of 83 Page ID
                                 #:2746
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                      (Proposed)
  2
         stamped FCI-02866-02867);              ¶¶12-41 (addressing in order and by
  3
         Yeh Decl., ¶ 18, Exh. P, FCI-00288, paragraph, each of Dr. Rand Decker’s
  4
                                                opinions in his declaration filed in
  5
                                                support of motion).
  6

  7
      73.Foundation’s EDTTEX piles are          Admitted, though that is not novel and
  8
         configured to be filled with           pre-dates Plaintiff to at least Moseley,
  9
         concrete.                              1870, US 1870, and in the modern era,
 10
         Decker Decl., ¶¶ 70-71;                since at least Verstraeten, US Patent
 11
                                                4,458,765, 1986.
 12
         Complaint (D.E. 1) at ¶ 25; Answer     Williams Dec., ¶¶2C-10, Perko Dec.,
 13
         (D.E. 15) at ¶ 25 (admitting that at   ¶¶5-13.
 14
         http://www.foundationpiledriving.c     See Moseley, “Nature and Objects of
 15
                                                the Invention”, “the second part of my
         om/edttex-piles.htm, Defendants
 16                                             invention…and a concrete filling
         state that                             resting on the top of the subfile…”
 17
         “The EDTTEX piles are steel and
 18                                             Perko Dec. ¶¶ 14-44 and Williams,
         concrete pipe composite piles that
 19                                             ¶¶12-41 (addressing in order and by
         are screwed into the ground under
 20                                             paragraph, each of Dr. Rand Decker’s
         very high torque and down-
 21                                             opinions in his declaration filed in
         pressure.”)
 22                                             support of motion).
 23

 24
      74.The pitch of the helical flights on    Admitted.
 25
         the EDTTEX tip ED1 is about 1
 26
         inch to about 5 inches.
 27

 28
                                              -38-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 39 of 83 Page ID
                                 #:2747
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         Decker Decl., ¶ 72.
  3

  4
      75.The pitch of the helical flights on   The tips are properly characterized as

  5
         the EDTTEX tip ED2M is about 1        stepped flights, rather than helical
         inch to about 5 inches.               flights. The stepped flights do not have
  6
         Decker Decl., ¶ 72.                   a pitch distinct from the shape of the
  7
                                               conical tip. In this regard, Denied.
  8

  9
                                               The EDTTEX 2, 2M and 3 pile tips are
 10
                                               stepped flights, not helical tips. The
 11
                                               patents themselves depict these shapes.
 12
                                               Williams Dec., ¶¶2C-10, Perko Dec.,
 13
                                               ¶¶5-13.
 14
                                               The phrasing of the patent 8,727,668
 15
                                               embodying ED 2, at claim 1 itself is
 16
                                               different than helical flights and uses
 17
                                               the phrases “plurality of circular
 18
                                               stepped flights” and “plurality of
 19
                                               circular stepped flights” or stepped
 20
                                               helical flights:
 21

 22
                                               A drill tip for a foundation pile
 23
                                               comprising: a soil penetrating body
 24
                                               including a plurality of circular
 25
                                               stepped flights and a lower end, said
 26
                                               plurality of circular stepped flights
 27

 28
                                              -39-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 40 of 83 Page ID
                                 #:2748
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                               formed generally in the shape of a
  3
                                               descending continuous conic spiral,
  4
                                               said plurality of flights having a
  5
                                               continuous spiral-shaped lower face
  6
                                               and a continuous outer face
  7
                                               intersecting said lower face, said lower
  8
                                               end having a pilot tip having a
  9
                                               generally conical center structure
 10
                                               surrounded by a plurality of
 11
                                               downwardly extending soil disturbing
 12
                                               blades, said blades having lowermost
 13
                                               portions extending below said conical
 14
                                               center structure in a configuration
 15
                                               resembling a swiveling fish tail. “
 16
                                               Perko Dec. ¶¶ 14-44 and Williams,
 17
                                               ¶¶12-41 (addressing in order and by
 18
                                               paragraph, each of Dr. Rand Decker’s
 19
                                               opinions in his declaration filed in
 20
                                               support of motion).
 21

 22

 23

 24
      76.The pitch of the helical flights on   The tips are properly characterized as
 25
         the EDTTEX tip ED3 is about 1         stepped flights, rather than helical
 26
         inch to about 5 inches.               flights. In this regard this is Denied.
 27

 28
                                              -40-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 41 of 83 Page ID
                                 #:2749
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
         Decker Decl., ¶ 72.                  The stepped flights or tips have a pitch
  3
                                              matching the shape of the spiral conical
  4
                                              tip.
  5

  6
                                              The EDTTEX 2, 2M and 3 pile tips are
  7
                                              stepped tips, not helical tips. The
  8
                                              patents themselves depict these shapes.
  9
                                              Williams Dec., ¶¶2C-10, Perko Dec.,
 10
                                              ¶¶5-13.
 11
                                              The phrasing of the patent 10,190,280
 12
                                              embodying ED 2, at claim 1 itself is
 13
                                              different than helical flights and uses
 14
                                              the phrases “plurality of circular
 15
                                              stepped flights” and “plurality of
 16
                                              circular stepped flights” or stepped
 17
                                              helical flights:
 18

 19
                                              A drill tip for a foundation pile
 20
                                              comprising: a soil penetrating body
 21
                                              including a plurality of circular
 22
                                              stepped flights and a lower end, said
 23
                                              plurality of circular stepped flights
 24
                                              formed generally in the shape of a
 25
                                              descending continuous conic spiral,
 26
                                              said plurality of flights having a
 27

 28
                                              -41-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 42 of 83 Page ID
                                 #:2750
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                               continuous spiral-shaped lower face
  3
                                               and a continuous outer face
  4
                                               intersecting said lower face, said lower
  5
                                               end having a pilot tip having a
  6
                                               generally conical center structure
  7
                                               surrounded by a plurality of
  8
                                               downwardly extending soil disturbing
  9
                                               blades, said blades having lowermost
 10
                                               portions extending below said conical
 11
                                               center structure in a configuration
 12
                                               resembling a swiveling fish tail. “
 13

 14
                                               Perko Dec. ¶¶ 14-44 and Williams,
 15
                                               ¶¶12-41 (addressing in order and by
 16
                                               paragraph, each of Dr. Rand Decker’s
 17
                                               opinions in his declaration filed in
 18
                                               support of motion).
 19

 20
      77.The pitch of the helical flights on   Admitted.
 21
         the EDTTEX tip ED1 is about 3
 22
         inches.
 23
         Decker Decl., ¶ 73.
 24
      78.The pitch of the helical flights on   The tips are properly characterized as
 25
         the EDTTEX tip ED2M is about 3        stepped flights, rather than helical
 26
         inches.                               flights. The stepped flights do not have
 27

 28
                                              -42-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 43 of 83 Page ID
                                 #:2751
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
         Decker Decl., ¶ 73.                  a pitch distinct from the shape of the
  3
                                              conical tip. In this regard, Denied.
  4

  5
                                              The EDTTEX 2, 2M and 3 pile tips are
  6
                                              stepped flights, not helical tips. The
  7
                                              patents themselves depict these shapes.
  8
                                              Williams Dec., ¶¶2C-10, Perko Dec.,
  9
                                              ¶¶5-13.
 10
                                              The phrasing of the patent 8,727,668
 11
                                              embodying ED 2, at claim 1 itself is
 12
                                              different than helical flights and uses
 13
                                              the phrases “plurality of circular
 14
                                              stepped flights” and “plurality of
 15
                                              circular stepped flights” or stepped
 16
                                              helical flights:
 17

 18
                                              A drill tip for a foundation pile
 19
                                              comprising: a soil penetrating body
 20
                                              including a plurality of circular
 21
                                              stepped flights and a lower end, said
 22
                                              plurality of circular stepped flights
 23
                                              formed generally in the shape of a
 24
                                              descending continuous conic spiral,
 25
                                              said plurality of flights having a
 26
                                              continuous spiral-shaped lower face
 27

 28
                                              -43-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 44 of 83 Page ID
                                 #:2752
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                               and a continuous outer face
  3
                                               intersecting said lower face, said lower
  4
                                               end having a pilot tip having a
  5
                                               generally conical center structure
  6
                                               surrounded by a plurality of
  7
                                               downwardly extending soil disturbing
  8
                                               blades, said blades having lowermost
  9
                                               portions extending below said conical
 10
                                               center structure in a configuration
 11
                                               resembling a swiveling fish tail. “
 12
                                               Perko Dec. ¶¶ 14-44 and Williams,
 13
                                               ¶¶12-41 (addressing in order and by
 14
                                               paragraph, each of Dr. Rand Decker’s
 15
                                               opinions in his declaration filed in
 16
                                               support of motion).
 17

 18

 19
      79.The pitch of the helical flights on   The tips are properly characterized as
 20
         the EDTTEX tip ED3 is about 3         stepped flights, rather than helical
 21
         inches.                               flights. In this regard this is Denied.
 22
         Decker Decl., ¶ 73.                   The stepped flights or tips have a pitch
 23
                                               matching the shape of the spiral conical
 24
                                               tip.
 25

 26
                                               The EDTTEX 2, 2M and 3 pile tips are
 27

 28
                                              -44-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 45 of 83 Page ID
                                 #:2753
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              stepped tips, not helical tips. The
  3
                                              patents themselves depict these shapes.
  4
                                              Williams Dec., ¶¶2C-10, Perko Dec.,
  5
                                              ¶¶5-13.
  6
                                              The phrasing of the patent 10,190,280
  7
                                              embodying ED 2, at claim 1 itself is
  8
                                              different than helical flights and uses
  9
                                              the phrases “plurality of circular
 10
                                              stepped flights” and “plurality of
 11
                                              circular stepped flights” and at times,
 12
                                              stepped helical flights:
 13

 14
                                              A drill tip for a foundation pile
 15
                                              comprising: a soil penetrating body
 16
                                              including a plurality of circular
 17
                                              stepped flights and a lower end, said
 18
                                              plurality of circular stepped flights
 19
                                              formed generally in the shape of a
 20
                                              descending continuous conic spiral,
 21
                                              said plurality of flights having a
 22
                                              continuous spiral-shaped lower face
 23
                                              and a continuous outer face
 24
                                              intersecting said lower face, said lower
 25
                                              end having a pilot tip having a
 26
                                              generally conical center structure
 27

 28
                                              -45-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 46 of 83 Page ID
                                 #:2754
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                              surrounded by a plurality of
  3
                                              downwardly extending soil disturbing
  4
                                              blades, said blades having lowermost
  5
                                              portions extending below said conical
  6
                                              center structure in a configuration
  7
                                              resembling a swiveling fish tail. “
  8
                                              Perko Dec. ¶¶ 14-44 and Williams,
  9
                                              ¶¶12-41 (addressing in order and by
 10
                                              paragraph, each of Dr. Rand Decker’s
 11
                                              opinions in his declaration filed in
 12
                                              support of motion).
 13

 14

 15
      80.A helical flight of the EDTTEX tip   Admitted.
 16
         ED1 extends about 1 circumference
 17
         of the tapered portion.
 18
         Decker Decl., ¶ 74.
 19

 20
      81.A helical flight of the EDTTEX tip   Admitted, but its length is longer
 21
         ED2M extends about 1                 proportionally to the Neville patent
 22
         circumference of the tapered         tips.
 23
         portion.                             Williams Dec., para 2C-10, Perko Dec.,
 24
         Decker Decl., ¶ 74.                  para. 5-13.
 25
         Yeh Decl., ¶ 3, Exh. A, Williams     Perko Dec. ¶¶ 14-44 and Williams,
 26
         Depo, 44:6-20.                       ¶¶12-41 (addressing in order and by
 27

 28
                                              -46-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 47 of 83 Page ID
                                 #:2755
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                                paragraph, each of Dr. Rand Decker’s
  3
                                                opinions in his declaration filed in
  4
                                                support of motion).
  5

  6
      82.A helical flight of the EDTTEX tip     Admitted.
  7
         ED3 extends about 1 circumference
  8
         of the tapered portion.
  9
         Decker Decl., ¶ 74.;
 10
         Yeh Decl., ¶ 3, Exh. A, Williams
 11
         Depo, 44:6-20
 12
      83. The EDTTEX ED1 tip includes an        Admitted.
 13
         end plate fixedly attached to the
 14
         second end of the pile tip.
 15
         Decker Decl., ¶ 86-87;
 16
         see also Admission by Defendants
 17
         that “Defendants’ EDTTEX piles
 18
         include an end plate attached to the
 19
         second end of the pile tip.”
 20
         Complaint (D.E. 1) at ¶ 33; Answer
 21
         (D.E. 15) at ¶ 33.
 22
      84. The end plate of the EDTTEX ED1 Admitted.
 23
         tip has a substantially flat surface
 24
         disposed perpendicular to the
 25
         centerline of the tubular pile.
 26
         Decker Decl., ¶ 86-87;
 27

 28
                                              -47-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 48 of 83 Page ID
                                 #:2756
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         see also Admission by Defendants
  3
         that “Defendants’ EDTTEX piles
  4
         include an end plate attached to the
  5
         second end of the pile tip.”
  6
         Complaint (D.E. 1) at ¶ 33; Answer
  7
         (D.E. 15) at ¶ 33.
  8
      85.The EDTTEX ED1 tip has an end          Denied. The second or tapered portion
  9
         plate blocking or eliminating the      of the EDTTEX 1 tip is followed by a
 10
         opening of the second end of the       third section not present in Plaintiff’s
 11
         tapered portion.                       pile tips, of a smaller cylindrical
 12
         Decker Decl., ¶¶ 53, 55, 57, 61;       section, which then in turn has a later
 13
         see also Admission by Defendants       plate or small end piece that closes the
 14
         that “Defendants’ EDTTEX piles         pile tip other than a square receiving
 15
         include an end plate attached to the   hole for a drill bit attachment or
 16
         second end of the pile tip.”           stabbing point.
 17
         Complaint (D.E. 1) at ¶ 33; Answer     Williams Dec., para 2C-10, Perko Dec.,
 18
         (D.E. 15) at ¶ 33.                     para. 5-13.
 19
                                                Perko Dec. ¶¶ 14-44 and Williams,
 20
                                                ¶¶12-41 (addressing in order and by
 21
                                                paragraph, each of Dr. Rand Decker’s
 22
                                                opinions in his declaration filed in
 23
                                                support of motion).
 24

 25
      86.The EDTTEX tip ED1 includes a          Admitted but this was not novel or new
 26
         protrusion extending from the end      at the time of Plaintiffs’ patents.
 27

 28
                                              -48-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 49 of 83 Page ID
                                 #:2757
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         plate.                                 Williams Dec., para 2C-10, Perko Dec.,
  3
         Decker Decl., ¶¶ 53, 55, 57, 61;       para. 5-13.
  4
         Yeh Decl., ¶ 6, Exh. D, Perko
  5
         Expert Report at 1;                    Perko Dec. ¶¶ 14-44 and Williams,
  6
         Yeh Decl., ¶ 3, Exh. A, Williams       ¶¶12-41 (addressing in order and by
  7
         Depo, 26:4-13;                         paragraph, each of Dr. Rand Decker’s
  8
         see also Defendants’ admission that    opinions in his declaration filed in
  9
         “Defendants’ EDTTEX piles              support of motion).
 10
         include a protrusion extending from
 11
         the end plate.” Complaint (D.E. 1)
 12
         at ¶ 34; Answer (D.E. 15) at ¶ 34.
 13
      87. The EDTTEX ED2M tip includes          Admitted, in part, denied in part.
 14
         an end plate fixedly attached to the   The second or tapered portion of the
 15
         second end of the pile tip.            EDTTEX 1 tip is followed by a third
 16
         Decker Decl., ¶ 86-87;                 section not present in Plaintiff’s pile
 17
         see also Admission by Defendants       tips, of a smaller cylindrical section,
 18
         that “Defendants’ EDTTEX piles         which then in turn has a later plate or
 19
         include an end plate attached to the   small end piece that closes the pile tip
 20
         second end of the pile tip.”           other than a square receiving hole for a
 21
         Complaint (D.E. 1) at ¶ 33; Answer     drill bit attachment or stabbing point.
 22
         (D.E. 15) at ¶ 33.                     The configuration on EDTTEX 1 has
 23
                                                additional and different elements (the
 24
                                                tubular section after the taper) not
 25
                                                present in Plaintiffs’ patents.
 26
                                                Williams Dec., para 2C-10, Perko Dec.,
 27

 28
                                              -49-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 50 of 83 Page ID
                                 #:2758
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                                para. 5-13.
  3

  4
                                                Perko Dec. ¶¶ 14-44 and Williams,
  5
                                                ¶¶12-41 (addressing in order and by
  6
                                                paragraph, each of Dr. Rand Decker’s
  7
                                                opinions in his declaration filed in
  8
                                                support of motion).
  9

 10
      88. The end plate of the EDTTEX           Denied. Neither ED2M nor ED 3 have
 11
         ED2M tip has a substantially flat      an end plate, nor a flat end plate, nor a
 12
         surface disposed perpendicular to      substantially flat surface, nor does its
 13
         the centerline of the tubular pile.    tip dispose perpendicular to the
 14
         Decker Decl., ¶ 86-87;                 centerline of the tubular pile, but
 15
         see also Admission by Defendants       typically at a pronounced angle.
 16
         that “Defendants’ EDTTEX piles         Williams Dec., para 2C-10, Perko Dec.,
 17
         include an end plate attached to the   para. 5-13.
 18
         second end of the pile tip.”
 19
         Complaint (D.E. 1) at ¶ 33; Answer     See patents US, 8,727,668 and,
 20
         (D.E. 15) at ¶ 33.                     10,190,280, and diagrams, Williams
 21
                                                Dec., Ex.’s 7 and 8.
 22

 23
                                                Perko Dec. ¶¶ 14-44 and Williams,
 24
                                                ¶¶12-41 (addressing in order and by
 25
                                                paragraph, each of Dr. Rand Decker’s
 26
                                                opinions in his declaration filed in
 27

 28
                                              -50-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 51 of 83 Page ID
                                 #:2759
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                                support of motion).
  3

  4

  5
      89.The EDTTEX ED2M tip has an end Denied. The ED2M does not have a
         plate blocking or eliminating the      tapered portion but a conical tip.
  6
         opening of the second end of the       Admitted that the end of the tip is
  7
         tapered portion.                       closed not open, unlike the Verstraeten
  8
         Decker Decl., ¶¶ 53-55, 57;            Tubex and Fundex tips which are open
  9
         see also Admission by Defendants       ended.
 10
         that “Defendants’ EDTTEX piles         See patents US, 8,727,668 and,
 11
         include an end plate attached to the   10,190,280, and diagrams, Williams
 12
         second end of the pile tip.”           Dec., Ex.’s 7 and 8.
 13
         Complaint (D.E. 1) at ¶ 33; Answer     Williams Dec., para 2C-10, Perko Dec.,
 14
         (D.E. 15) at ¶ 33.                     para. 5-13.
 15

 16
                                                Perko Dec. ¶¶ 14-44 and Williams,
 17
                                                ¶¶12-41 (addressing in order and by
 18
                                                paragraph, each of Dr. Rand Decker’s
 19
                                                opinions in his declaration filed in
 20
                                                support of motion).
 21

 22

 23
      90.The EDTTEX tip ED2M includes a         Admitted but this was not novel or new
 24
         protrusion extending from the end      at the time of Plaintiffs’ patents.
 25
         plate.                                 Williams Dec., para 2C-10, Perko Dec.,
 26
         Decker Decl., ¶¶ 53-55, 57;            para. 5-13.
 27

 28
                                              -51-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 52 of 83 Page ID
                                 #:2760
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         Yeh Decl., ¶ 6, Exh. D, Perko
  3
         Expert Report at 1;                    Perko Dec. ¶¶ 14-44 and Williams,
  4
         see also Defendants’ admission that    ¶¶12-41 (addressing in order and by
  5
         “Defendants’ EDTTEX piles              paragraph, each of Dr. Rand Decker’s
  6
         include a protrusion extending from    opinions in his declaration filed in
  7
         the end plate.” Complaint (D.E. 1)     support of motion).
  8
         at ¶ 34; Answer (D.E. 15) at ¶ 34.
  9
      91. The EDTTEX ED3 tip includes an        Denied. The Admission pertained to
 10
         end plate fixedly attached to the      EDTTEX 1 which was the only tip in
 11
         second end of the pile tip.            contention until March 29, 2019.
 12
         Decker Decl., ¶ 86-87;
 13
         see also Admission by Defendants       Rice Dec., para. 16.
 14
         that “Defendants’ EDTTEX piles
 15
         include an end plate attached to the   ED 3 does not have an end plate.
 16
         second end of the pile tip.”           Williams Dec., para 2C-10, Perko Dec.,
 17
         Complaint (D.E. 1) at ¶ 33; Answer     para. 5-13.
 18
         (D.E. 15) at ¶ 33.                     See patents US, 8,727,668 and,
 19
                                                10,190,280, and diagrams, Williams
 20
                                                Dec., Ex.’s 7 and 8.
 21

 22
                                                Perko Dec. ¶¶ 14-44 and Williams,
 23
                                                ¶¶12-41 (addressing in order and by
 24
                                                paragraph, each of Dr. Rand Decker’s
 25
                                                opinions in his declaration filed in
 26
                                                support of motion).
 27

 28
                                              -52-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 53 of 83 Page ID
                                 #:2761
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2

  3

  4

  5
      92. The end plate of the EDTTEX ED3 Denied. The Admission pertained to
         tip has a substantially flat surface   EDTTEX 1 which was the only tip in
  6
         disposed perpendicular to the          contention until March 29, 2019.
  7
         centerline of the tubular pile.
  8
         Decker Decl., ¶ 86-87;                 Rice Dec., para. 16.
  9
         see also Admission by Defendants
 10
         that “Defendants’ EDTTEX piles         ED 3 does not have an end plate.
 11
         include an end plate attached to the   Williams Dec., para 2C-10, Perko Dec.,
 12
         second end of the pile tip.”           para. 5-13.
 13
         Complaint (D.E. 1) at ¶ 33; Answer     See patents US, 8,727,668 and,
 14
         (D.E. 15) at ¶ 33.                     10,190,280, and diagrams, Williams
 15
                                                Dec., Ex.’s 7 and 8.
 16

 17
                                                Perko Dec. ¶¶ 14-44 and Williams,
 18
                                                ¶¶12-41 (addressing in order and by
 19
                                                paragraph, each of Dr. Rand Decker’s
 20
                                                opinions in his declaration filed in
 21
                                                support of motion).
 22

 23

 24
      93.The EDTTEX ED3 tip has an end          Denied. The Admission pertained to
 25
         plate blocking or eliminating the      EDTTEX 1 which was the only tip in
 26
         opening of the second end of the       contention until March 29, 2019.
 27

 28
                                              -53-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 54 of 83 Page ID
                                 #:2762
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         tapered portion.
  3
         Decker Decl., ¶¶ 53-60;                Rice Dec., para. 16.
  4
         see also Admission by Defendants
  5
         that “Defendants’ EDTTEX piles         ED 3 does not have an end plate. It
  6
         include an end plate attached to the   comes to a tip like any cone.
  7
         second end of the pile tip.”           Williams Dec., para 2C-10, Perko Dec.,
  8
         Complaint (D.E. 1) at ¶ 33; Answer     para. 5-13.
  9
         (D.E. 15) at ¶ 33.                     See patents US, 8,727,668 and,
 10
                                                10,190,280, and diagrams, Williams
 11
                                                Dec., Ex.’s 7 and 8.
 12

 13
                                                Perko Dec. ¶¶ 14-44 and Williams,
 14
                                                ¶¶12-41 (addressing in order and by
 15
                                                paragraph, each of Dr. Rand Decker’s
 16
                                                opinions in his declaration filed in
 17
                                                support of motion).
 18

 19

 20
      94.The EDTTEX tip ED3 includes a          Denied. The Admission pertained to
 21
         protrusion extending from the end      EDTTEX 1 which was the only tip in
 22
         plate.                                 contention until March 29, 2019.
 23
         Decker Decl., ¶¶ 53-60;
 24
         Yeh Decl., ¶ 6, Exh. D, Perko          Rice Dec., para. 16.
 25
         Expert Report at 1;
 26
         Yeh Decl., ¶ 3, Exh. A, Williams       ED 3 does not have an end plate. To
 27

 28
                                              -54-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 55 of 83 Page ID
                                 #:2763
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         Depo, 34:15-25; 48:3-16 (Ex.          that extend, denied. It has a conical tip
  3
         116/FCI 00581);                       and can have a protrusion or stabbing
  4
         see also Defendants’ admission that   point at the end of the pointed tip.
  5
         “Defendants’ EDTTEX piles             Williams Dec., para 2C-10, Perko Dec.,
  6
         include a protrusion extending from   para. 5-13.
  7
         the end plate.” Complaint (D.E. 1)    See patents US, 8,727,668 and,
  8
         at ¶ 34; Answer (D.E. 15) at ¶ 34.    10,190,280, and diagrams, Williams
  9
                                               Dec., Ex.’s 7 and 8.
 10
 11
                                               Perko Dec. ¶¶ 14-44 and Williams,
 12
                                               ¶¶12-41 (addressing in order and by
 13
                                               paragraph, each of Dr. Rand Decker’s
 14
                                               opinions in his declaration filed in
 15
                                               support of motion).
 16

 17

 18
      95.The component portions of the         The phrase “component part” is vague
 19
         EDTTEX tip ED1 are welded             and misleading, and to that extent,
 20
         together.                             Denied, usually the EDTTEX 1 tip is
 21
         Yeh Decl., ¶ 3, Exh. A, Williams      Cast.
 22
         Depo, 65:8-11                         Williams, para. 2C to 10.
 23
         Yeh Decl., ¶ 18, Exh. P,              The welded portion is the protrusion
 24
                                               onto the very end which can be welded
 25
                                               on but usually with a male-female
 26
                                               nipple connection from the drill bit to
 27

 28
                                              -55-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 56 of 83 Page ID
                                 #:2764
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                               the end of the pile tip.
  3
                                               Williams Dec. , para. 24, 36, 38, 39.
  4

  5
                                               Perko Dec. ¶¶ 14-44 and Williams,
  6
                                               ¶¶12-41 (addressing in order and by
  7
                                               paragraph, each of Dr. Rand Decker’s
  8
                                               opinions in his declaration filed in
  9
                                               support of motion).
 10
 11
      96.The EDTTEX tip ED2M is                Admitted, though the technical
 12
         composed of a cast ED2 tip, with      description in the patent is stepped
 13
         helical flights that are welded on.   flights, or stepped helical flights.
 14
         Yeh Decl., ¶ 3, Exh. A, Williams      Williams Dec., para 2C-10, Perko Dec.,
 15
         Depo, 42:21-44:16; 45:4-6; 51:24-     para. 5-13.
 16
         52:6; 92:25-93:6                      See patents US, 8,727,668 and,
 17
                                               10,190,280, and diagrams, Williams
 18
                                               Dec., Ex.’s 7 and 8.
 19

 20
                                               Perko Dec. ¶¶ 14-44 and Williams,
 21
                                               ¶¶12-41 (addressing in order and by
 22
                                               paragraph, each of Dr. Rand Decker’s
 23
                                               opinions in his declaration filed in
 24
                                               support of motion).
 25

 26

 27

 28
                                              -56-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 57 of 83 Page ID
                                 #:2765
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
      97.In the current version of the         Admitted, though the technical
  3
         EDTTEX tip ED3, the ED3 is            description in the patent is stepped
  4
         composed of a cast ED2 tip, with      flights, or stepped helical flights.
  5
         helical flights that are welded on.   Williams Dec., para 2C-10, Perko Dec.,
  6
         Yeh Decl., ¶ 3, Exh. A, Williams      para. 5-13.
  7
         Depo, 42:21-44:16; 45:4-6; 51:24-     See patents US, 8,727,668 and,
  8
         52:6; 92:25-93:6                      10,190,280, and diagrams, Williams
  9
                                               Dec., Ex.’s 7 and 8.
 10
 11
                                               Perko Dec. ¶¶ 14-44 and Williams,
 12
                                               ¶¶12-41 (addressing in order and by
 13
                                               paragraph, each of Dr. Rand Decker’s
 14
                                               opinions in his declaration filed in
 15
                                               support of motion).
 16

 17

 18
      98.In the future version of the          Admitted.
 19
         EDTTEX tip ED3, all portions of
 20
         the ED3 will be cast.
 21
         Yeh Decl., ¶ 3, Exh. A, Williams
 22
         Depo, 51:24-52:9.
 23
      99.In the EDTTEX tip ED3, the cast       Admitted.
 24
         tip may be cut off and a new tip
 25
         welded on.
 26
         Yeh Decl., ¶ 3, Exh. A, Williams
 27

 28
                                              -57-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 58 of 83 Page ID
                                 #:2766
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         Depo, 48:3-49:2
  3

  4
      100. The EDTTEX tips ED2M and             Admitted.

  5
         ED3 tips are both created from the     See patents US, 8,727,668 and,
         ED2 tip.                               10,190,280, and diagrams, Williams
  6
         Yeh Decl., ¶ 3, Exh. A, Williams       Dec., Ex.’s 7 and 8.
  7
         Depo, 42:21-44:16; 45:4-6; 51:24-
  8
         52:6; 92:25-93:6
  9
      101.   The difference between the         Admitted; though the technical term in
 10
         EDTTEX ED2M and ED3 tips are           the two Foundation patents are stepped
 11
         the widths of the helical flights on   flights or stepped helical flights.
 12
         the exterior of the pile tip.
 13
         Yeh Decl., ¶ 3, Exh. A, Williams       See patents US, 8,727,668 and,
 14
         Depo, 47:18-48:2                       10,190,280, and diagrams, Williams
 15
                                                Dec., Ex.’s 7 and 8.
 16

 17
      102. The EDTTEX tip ED2M adds on Admitted; though the technical term in
 18
         a lower helical flight made from a     the two Foundation patents are stepped
 19
         1-inch plate, and a smaller upper      flights or stepped helical flights.
 20
         helical flight.
 21
         Yeh Decl., ¶ 3, Exh. A, Williams       See patents US, 8,727,668 and,
 22
         Depo, 44:6-45:3                        10,190,280, and diagrams, Williams
 23
                                                Dec., Ex.’s 7 and 8.
 24
                                                See prior art, Verstraeten US Patent
 25
                                                4,458,765, 1986, and Williams Dec.,
 26
                                                Ex’s 2 (1992 photo) and Ex. 9,
 27

 28
                                              -58-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 59 of 83 Page ID
                                 #:2767
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
                                                 Verstraeten 1982 brochure depicting a
  3
                                                 tip for open-ended, grout injection pile
  4
                                                 tips that is similar in shape though in
  5
                                                 different application to a closed ended
  6
                                                 EDTTEX system in US, 8,727,668 and,
  7
                                                 10,190,280.
  8

  9
      103. The EDTTEX tip ED3 adds on a          Admitted (meaning adding to a ED 2).
 10
         lower helical flight made from a 2-     See patents US, 8,727,668 and,
 11
         inch plate, and a smaller upper         10,190,280, and diagrams, Williams
 12
         helical flight.                         Dec., Ex.’s 7 and 8.
 13
         Yeh Decl., ¶ 3, Exh. A, Williams
 14
         Depo, 47:18-48:2; Ex. 116/FCI-
 15
         00581
 16
      The `708 and `236 Patents Contemplated Cast or Fabricated Pile Tips
 17
      104. The `708 and `236 patents state       Admitted.
 18
         that the pile tip may be hand
 19
         fabricated from separate pieces of
 20
         steel stock.
 21
         U.S. Pat. No. 7,914,236 at col. 4,
 22
         lines 58-59 (“For example, the pile
 23
         tip 10 could be cast as a single unit
 24
         rather than hand fabricated from
 25
         separate pieces of steel stock.”);
 26
         U.S. Pat. No. 9,284,708 at col. 3,
 27

 28
                                              -59-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 60 of 83 Page ID
                                 #:2768
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         lines 54-56.
  3

  4
      105. The `708 and `236 patents state       Admitted. Any steel can be cast or

  5
         that the pile tip may be cast as a      made from fabricated sheet steel.
         single unit.
  6
         U.S. Pat. No. 7,914,236 at col. 4,
  7
         lines 58-59 (“For example, the pile
  8
         tip 10 could be cast as a single unit
  9
         rather than hand fabricated from
 10
         separate pieces of steel stock.”);
 11
         U.S. Pat. No. 9,284,708 at col. 3,
 12
         lines 54-56.
 13
      Foundation’s Expert Does Not Dispute Any Material Facts
 14
      106.   For U.S. Pat. No. 7,914,236, the Denied. See Perko Dec., ¶¶5-13
 15
         Expert Report of Foundation’s           addressing invalidity and non-
 16
         Expert Dr. Perko presents a single      infringement, and attaching his expert
 17
         noninfringement argument: that the report; Perko Dec. ¶¶ 14-44
 18
         accused devices do not have “a          (addressing each of Dr. Rand Decker’s
 19
         substantially flat plate at the         opinions in his declaration filed in
 20
         termination of the pile tip.”           support of motion).
 21
         Yeh Decl., ¶ 6, Exh. D, Perko           Also, Williams is an expert and
 22
         Expert Report at 1-6.                   presented his non-infringement
 23
                                                 opinions, Williams Dec., para’s 2C-41.
 24
      107. No claim limitation in U.S. Pat.      The Claims Construction Order does
 25
         No. 7,914,236 requires “a               not modify the language of the patent.
 26
         substantially flat plate at the         The short hand of Mr. Perko refers to
 27

 28
                                              -60-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 61 of 83 Page ID
                                 #:2769
       Plaintiff’s Undisputed Material Fact         Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         termination of the pile tip.”            the patent claim language itself of an
  3
         U.S. Pat. No. 7,914,236; Claim           end plate, having a substantially flat
  4
         Construction Order (D.E. 43) at 10       surface, disposed perpendicular to the
  5
         (“Defendants argue that                  centerline of the pile.
  6
         “substantially flat” must mean “flat” See Perko Dec., ¶¶5-13 addressing
  7
         because “[o]nly a flat piece of metal invalidity and non-infringement, and
  8
         can be ‘disposed perpendicular to        attaching his expert report; Perko Dec.
  9
         the centerline of the tubular pile’ as   ¶¶ 14-44 (addressing each of Dr. Rand
 10
         a matter of geometric principle.”        Decker’s opinions in his declaration
 11
         (Dkt. 32 at 3.) Defendants’              filed in support of motion).
 12
         argument would only apply if the         Mr. Perko explained his shorthand in
 13
         end plate was required to be             his declaration. Perko Dec., para. 6(C):
 14
         perpendicular to the centerline                “The only potentially novel
 15
         along the entire width of the end
 16                                               aspect of SSI's '236 patent and '708
         plate. Defendants are not arguing
 17
                                                  patent seems to be the substantially flat
         for such a limitation and such a
 18
         limitation is not found in the claims    plate at the termination of the pile tip.
 19
         or specification.”)
 20                                               In the patent ‘236 itself, the wording
 21
                                                  is, ““…an end plate disposed at the
 22
                                                  second pile tip end, the end plate
 23

 24                                               having a substantially flat surface
 25
                                                  disposed     perpendicular      to       the
 26
                                                  centerline…” Claim 12, 19, emphasis
 27

 28
                                              -61-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 62 of 83 Page ID
                                 #:2770
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              added. While my report discusses this
  3

  4                                           in shorthand, as “the substantially flat
  5
                                              plate”, from the descriptions in the
  6

  7
                                              patent and the diagrams, the claim

  8                                           wording ““…an end plate disposed at
  9
                                              the second pile tip end, the end plate
 10
 11                                           having a substantially flat surface

 12                                           disposed     perpendicular      to     the
 13
                                              centerline…” means the same thing;
 14

 15                                           my report though using that short hand

 16                                           was referring to the actual patent claim
 17
                                              language in claims 12 and 19 of patent
 18

 19                                           ‘236, which the Court ruled needed no

 20                                           further claim construction.”
 21
                                              Perko Dec. ¶¶ 14-44 and Williams,
 22
                                              ¶¶12-41 (addressing in order and by
 23
                                              paragraph, each of Dr. Rand Decker’s
 24
                                              opinions in his declaration filed in
 25
                                              support of motion).
 26

 27

 28
                                              -62-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 63 of 83 Page ID
                                 #:2771
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                     (Proposed)
  2

  3

  4
      108. For Claim 29 of U.S. Pat. No.         Denied. See Perko Dec., ¶¶5-13

  5
         9,284,708, the Expert Report of         addressing invalidity and non-
         Foundation’s Expert Dr. Perko           infringement, and attaching his expert
  6
         presents only one noninfringement       report; Perko Dec. ¶¶ 14-44
  7
         argument: that the accused devices      (addressing each of Dr. Rand Decker’s
  8
         do not have “a substantially flat       opinions in his declaration filed in
  9
         plate at the termination of the pile    support of motion).
 10
         tip.”                                   Also, Williams is an expert and
 11
         Yeh Decl., ¶ 6, Exh. D, Perko           presented his declaration and non-
 12
         Expert Report at 1, 8.                  infringement opinions. Williams Dec.,
 13
                                                 para’s 2C-41.
 14
      109.     The claim limitation “end plate   Admitted in part. The end plate does
 15
         having a substantially flat surface     have to be a substantially flat surface as
 16
         disposed perpendicular to the           the Claim Construction Order did not
 17
         centerline of the tubular pile” does    modify the underlying term of the
 18
         not require the entire end plate to be patent,
 19
         substantially flat.                     Claims 1, 12, 19, 29, 32 of patent ‘236,
 20
         U.S. Pat. No. 7,914,236; Claim          ““…an end plate disposed at the second
 21
         Construction Order (D.E. 43) at 8-      pile tip end, the end plate having a
 22
         11.                                     substantially flat surface.”
 23
                                                 Further, the patent claim history shows
 24
                                                 that this language was required to
 25
                                                 overcome repeated rejections from
 26
                                                 language that did not describe an end
 27

 28
                                              -63-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 64 of 83 Page ID
                                 #:2772
       Plaintiff’s Undisputed Material Fact         Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
                                                  plate of a substantially flat surface.
  3
                                                  Rice Dec., Ex. 29, 30.
  4

  5
      110.   The claim limitation “end plate      Admitted in part. The end plate does
         having a substantially flat surface      have to be a substantially flat surface as
  6
         disposed perpendicular to the            the Claim Construction Order did not
  7
         centerline of the tubular pile” does     modify the underlying term of the
  8
         not require the end plate to be          patent,
  9
         perpendicular to the centerline          Claims 1, 12, 19, 29, 32 of patent ‘236,
 10
         along the entire width of the end        ““…an end plate disposed at the second
 11
         plate.                                   pile tip end, the end plate having a
 12
         U.S. Pat. No. 7,914,236; Claim           substantially flat surface.”
 13
         Construction Order (D.E. 43) at 10       Further, the patent claim history shows
 14
         (“Defendants argue that                  that this language was required to
 15
         “substantially flat” must mean “flat” overcome repeated rejections from
 16
         because “[o]nly a flat piece of metal language that did not describe an end
 17
         can be ‘disposed perpendicular to        plate of a substantially flat surface.
 18
         the centerline of the tubular pile’ as   Rice Dec., Ex. 29, 30.
 19
         a matter of geometric principle.”
 20
         (Dkt. 32 at 3.) Defendants’
 21
         argument would only apply if the
 22
         end plate was required to be
 23
         perpendicular to the centerline
 24
         along the entire width of the end
 25
         plate. Defendants are not arguing
 26
         for such a limitation and such a
 27

 28
                                              -64-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 65 of 83 Page ID
                                 #:2773
       Plaintiff’s Undisputed Material Fact        Defendants’ Supporting Evidence
  1
                     (Proposed)
  2
         limitation is not found in the claims
  3
         or specification.”)
  4

  5
      111.     The claim limitation “end plate   Denied. Other than any protrusion or
         having a substantially flat surface     point affixed to the end plate, the end
  6
         disposed perpendicular to the           plate is the ending plate of the ‘236 and
  7
         centerline of the tubular pile” does    ‘708 patents.
  8
         not require the entire end plate to be Claims 1, 12, 19, 29, 32 of patent ‘236,
  9
         “at the termination of the pile tip.”   ““…an end plate disposed at the second
 10
         U.S. Pat. No. 7,914,236; Claim          pile tip end, the end plate having a
 11
         Construction Order (D.E. 43) at 8-      substantially flat surface.”
 12
         11.                                     Further, the patent claim history shows
 13
                                                 that this language was required to
 14
                                                 overcome repeated rejections from
 15
                                                 language that did not describe an end
 16
                                                 plate of a substantially flat surface.
 17
                                                 Rice Dec., Ex. 29, 30.
 18
                                                 Perko Dec. ¶¶ 14-44 and Williams,
 19
                                                 ¶¶12-41 (addressing in order and by
 20
                                                 paragraph, each of Dr. Rand Decker’s
 21
                                                 opinions in his declaration filed in
 22
                                                 support of motion).
 23

 24
      112. The patents disclose multiple         Denied. The patent claim history
 25
         embodiments with a protrusion           reflects that until the language of an
 26
         extending beyond the end plate, so      end plate was added the patent was
 27

 28
                                              -65-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 66 of 83 Page ID
                                 #:2774
       Plaintiff’s Undisputed Material Fact       Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         the end plate is not “at the           rejected as obvious and indefinite.
  3
         termination of the pile tip.”          Rice Dec., Ex.29, 30.
  4
         U.S. Pat. No. 7,914,236 at 4:28-35;    The protrustion is not the pile tip but a
  5
         6:60-63; 7:3-12, 14-27; Figs. 1, 2, 4, protrusion or point beyond the patents’
  6
         5; Claims 4, 5, 13, 20, 22-26, 31,     ‘236 and ‘708 description of the end of
  7
         39; U.S. Pat. No. 9,284,708 at Figs.   the pile tip.
  8
         1, 2, 4, 5; Claims 1, 24-28, 31, 39.   See ‘236 patent, claim 22:
  9
                                                “22. The screw pile substructure
 10
                                                support system of claim 19, wherein
 11
                                                the end plate comprises at least one
 12
                                                protrusion extending in a direction
 13
                                                away from the shaped pile tip.”
 14

 15
                                                This language in patent ‘236 signifies
 16
                                                that the “protrusion” in the patent
 17
                                                claims is not treated as the end of the
 18
                                                pile tip; the end plate is the end of the
 19
                                                pile tip, and the protrusion is
 20
                                                “extending in a direction away from the
 21
                                                shaped pile tip.”
 22
                                                The “embodiments” describe different
 23
                                                cutter teeth or protrusion configurations
 24
                                                but referencing diagrams always
 25
                                                showing an end plate having a
 26
                                                substantially flat surface:
 27

 28
                                              -66-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 67 of 83 Page ID
                                 #:2775
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2

  3
                                              “FIGS. 4 and 5 show alternative
  4
                                              embodiments of a conical pile tip 40
  5
                                              comprised of a substantially conically
  6
                                              shaped body sharing a centerline with
  7
                                              the pile 41 to which it is attached, as
  8
                                              well as a helical flight 45 attached to
  9
                                              the outside surface of the pile tip 40,
 10
                                              and cutter teeth 46 extending out
 11
                                              radially from the centerline of the pile
 12
                                              tip 40. In the embodiment shown, the
 13
                                              cutter teeth 46 are provided disposed in
 14
                                              a spiral pattern on the outside surface
 15
                                              of the pile tip 40 and spaced vertically
 16
                                              apart from one another in one inch
 17
                                              intervals. An end plate 49 is provided
 18
                                              as a bottom surface to the conical body
 19
                                              of the pile tip 40. Welds 42 secure the
 20
                                              end plate 49 and the pile 41 to the
 21
                                              conical body. Triangular cutter teeth 48
 22
                                              are provided extending out axially from
 23
                                              the end plate 49 of the pile tip 40,
 24
                                              which pile tip 40 is not provided with a
 25
                                              point shaft in the embodiment shown in
 26
                                              contrast with the pile tip 10 of FIG. 1.
 27

 28
                                              -67-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 68 of 83 Page ID
                                 #:2776
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              In the embodiment illustrated in FIG. 4,
  3
                                              the endplate 49 has a diameter of 8
  4
                                              inches and the helical flight has a end
  5
                                              to end width of 15 inches. Also, the
  6
                                              height of the conically shaped body,
  7
                                              from the pile 41 to the endplate 49, is
  8
                                              18 inches and the diameter of the pile
  9
                                              41 is 12.75 inches. The embodiments
 10
                                              of pile tips illustrated in FIGS. 1, 2,
 11
                                              4A, 5, 7, and 8 can have similar
 12
                                              dimensions.
 13

 14
                                              In an alternative embodiment, a
 15
                                              bifurcated point shaft may be provided
 16
                                              as a component of the pile tip 40
 17
                                              having two prongs, and in a further
 18
                                              alternative embodiment these prongs
 19
                                              may be twisted in a helix to better serve
 20
                                              to break up soil to allow the pile tip 40
 21
                                              to more easily be turned into a soil bed.
 22
                                              In another embodiment, the pile tip 40
 23
                                              may be provided with hardened or
 24
                                              carbide tipped cutter teeth 46 or 48 to
 25
                                              better stand up to harder soil
 26
                                              conditions; the edge of the flight 45
 27

 28
                                              -68-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 69 of 83 Page ID
                                 #:2777
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              may also be hard surfaced for the same
  3
                                              reason. In yet another alternative
  4
                                              embodiment, additional flights 45
  5
                                              could be added on the outside surface
  6
                                              of the pile tip 40. In yet another
  7
                                              alternative embodiment, the pile tip 40
  8
                                              may be provided with an extended
  9
                                              shaft thinner in diameter than the end
 10
                                              plate 49 and extending out axially from
 11
                                              the end plate 49 in place of a point
 12
                                              shaft. This extended shaft may include
 13
                                              its own helical flight or flights separate
 14
                                              from the flight 45 provided on the
 15
                                              outside surface of the pile tip 40. FIG.
 16
                                              4A illustrates the extended shaft with
 17
                                              its own helical flight.
 18

 19
                                              FIG. 6 show various embodiments of
 20
                                              cutter teeth for use with a conical pile
 21
                                              tip. Namely, a point shaft 62 and cutter
 22
                                              tooth 63 are shown which may be
 23
                                              provided extending out axially from the
 24
                                              end plate of a pile tip 40. A cutter tooth
 25
                                              63 is also shown which may be
 26
                                              provided extending out radially from
 27

 28
                                              -69-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 70 of 83 Page ID
                                 #:2778
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              the centerline of a pile tip.”
  3
                                              In other words,
  4
                                              Figures 4, 4A and 5 of the ‘236 patent,
  5
                                              and ‘708 patent, show what is meant by
  6
                                              the different described embodiments,
  7
                                              and only show different protrusions or
  8
                                              lack of protrusions below the end
  9
                                              plate (the substantially flat end plate)
 10
                                              but do not deviate or show
 11
                                              embodiments other than a flat or
 12
                                              substantially flat end plate.
 13

 14
                                              The embodiments are different
 15
                                              protrusions for initiating contact with
 16
                                              the ground, not different end plate
 17
                                              shapes.
 18
                                              Perko Dec. ¶¶ 14-44 and Williams,
 19
                                              ¶¶12-41 (addressing in order and by
 20
                                              paragraph, each of Dr. Rand Decker’s
 21
                                              opinions in his declaration filed in
 22
                                              support of motion).
 23

 24

 25
      113.   Claim 29 of U.S. Pat. No.        Denied. The patent claim history
 26
         9,284,708 does not require “a        reflects that until the language of an
 27

 28
                                              -70-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 71 of 83 Page ID
                                 #:2779
       Plaintiff’s Undisputed Material Fact         Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         substantially flat plate at the          end plate was added the patent was
  3
         termination of the pile tip.”            rejected as obvious and indefinite.
  4
         U.S. Pat. No. 7,914,236, Claim 19;       Rice Dec., Ex.29, 30.
  5
         Claim Construction Order (D.E. 43) The protrusion is not the pile tip but a
  6
         at 10 (“Defendants argue that            protrusion or point beyond the patents’
  7
         “substantially flat” must mean “flat” ‘236 and ‘708 description of the end of
  8
         because “[o]nly a flat piece of metal the pile tip.
  9
         can be ‘disposed perpendicular to        See ‘236 patent, claim 22:
 10
         the centerline of the tubular pile’ as   “22. The screw pile substructure
 11
         a matter of geometric principle.”        support system of claim 19, wherein
 12
         (Dkt. 32 at 3.) Defendants’              the end plate comprises at least one
 13
         argument would                           protrusion extending in a direction
 14
         only apply if the end plate was          away from the shaped pile tip.”
 15
         required to be perpendicular to the
 16
         centerline along the entire width of     This language in patent ‘236 signifies
 17
         the end plate. Defendants are not        that the “protrusion” in the patent
 18
         arguing for such a limitation and        claims is not treated as the end of the
 19
         such a limitation is not found in the    pile tip; the end plate is the end of the
 20
         claims or specification.”)               pile tip, and the protrusion is
 21
                                                  “extending in a direction away from the
 22
                                                  shaped pile tip.”
 23
                                                  The “embodiments” describe different
 24
                                                  cutter teeth or protrusion configurations
 25
                                                  but referencing diagrams always
 26
                                                  showing an end plate having a
 27

 28
                                              -71-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 72 of 83 Page ID
                                 #:2780
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              substantially flat surface:
  3

  4
                                              “FIGS. 4 and 5 show alternative
  5
                                              embodiments of a conical pile tip 40
  6
                                              comprised of a substantially conically
  7
                                              shaped body sharing a centerline with
  8
                                              the pile 41 to which it is attached, as
  9
                                              well as a helical flight 45 attached to
 10
                                              the outside surface of the pile tip 40,
 11
                                              and cutter teeth 46 extending out
 12
                                              radially from the centerline of the pile
 13
                                              tip 40. In the embodiment shown, the
 14
                                              cutter teeth 46 are provided disposed in
 15
                                              a spiral pattern on the outside surface
 16
                                              of the pile tip 40 and spaced vertically
 17
                                              apart from one another in one inch
 18
                                              intervals. An end plate 49 is provided
 19
                                              as a bottom surface to the conical body
 20
                                              of the pile tip 40. Welds 42 secure the
 21
                                              end plate 49 and the pile 41 to the
 22
                                              conical body. Triangular cutter teeth 48
 23
                                              are provided extending out axially from
 24
                                              the end plate 49 of the pile tip 40,
 25
                                              which pile tip 40 is not provided with a
 26
                                              point shaft in the embodiment shown in
 27

 28
                                              -72-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 73 of 83 Page ID
                                 #:2781
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              contrast with the pile tip 10 of FIG. 1.
  3
                                              In the embodiment illustrated in FIG. 4,
  4
                                              the endplate 49 has a diameter of 8
  5
                                              inches and the helical flight has a end
  6
                                              to end width of 15 inches. Also, the
  7
                                              height of the conically shaped body,
  8
                                              from the pile 41 to the endplate 49, is
  9
                                              18 inches and the diameter of the pile
 10
                                              41 is 12.75 inches. The embodiments
 11
                                              of pile tips illustrated in FIGS. 1, 2,
 12
                                              4A, 5, 7, and 8 can have similar
 13
                                              dimensions.
 14

 15
                                              In an alternative embodiment, a
 16
                                              bifurcated point shaft may be provided
 17
                                              as a component of the pile tip 40
 18
                                              having two prongs, and in a further
 19
                                              alternative embodiment these prongs
 20
                                              may be twisted in a helix to better serve
 21
                                              to break up soil to allow the pile tip 40
 22
                                              to more easily be turned into a soil bed.
 23
                                              In another embodiment, the pile tip 40
 24
                                              may be provided with hardened or
 25
                                              carbide tipped cutter teeth 46 or 48 to
 26
                                              better stand up to harder soil
 27

 28
                                              -73-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 74 of 83 Page ID
                                 #:2782
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              conditions; the edge of the flight 45
  3
                                              may also be hard surfaced for the same
  4
                                              reason. In yet another alternative
  5
                                              embodiment, additional flights 45
  6
                                              could be added on the outside surface
  7
                                              of the pile tip 40. In yet another
  8
                                              alternative embodiment, the pile tip 40
  9
                                              may be provided with an extended
 10
                                              shaft thinner in diameter than the end
 11
                                              plate 49 and extending out axially from
 12
                                              the end plate 49 in place of a point
 13
                                              shaft. This extended shaft may include
 14
                                              its own helical flight or flights separate
 15
                                              from the flight 45 provided on the
 16
                                              outside surface of the pile tip 40. FIG.
 17
                                              4A illustrates the extended shaft with
 18
                                              its own helical flight.
 19

 20
                                              FIG. 6 show various embodiments of
 21
                                              cutter teeth for use with a conical pile
 22
                                              tip. Namely, a point shaft 62 and cutter
 23
                                              tooth 63 are shown which may be
 24
                                              provided extending out axially from the
 25
                                              end plate of a pile tip 40. A cutter tooth
 26
                                              63 is also shown which may be
 27

 28
                                              -74-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 75 of 83 Page ID
                                 #:2783
       Plaintiff’s Undisputed Material Fact     Defendants’ Supporting Evidence
  1
                   (Proposed)
  2
                                              provided extending out radially from
  3
                                              the centerline of a pile tip.”
  4

  5
                                              Figures 4, 4A and 5 of reach patent
  6
                                              show different protrusions or lack of
  7
                                              protrusions below the end plate (the
  8
                                              substantially flat end plate) but do not
  9
                                              deviate or show embodiments other
 10
                                              than a flat or substantially flat end
 11
                                              plate.
 12

 13
                                              The embodiments are different
 14
                                              protrusions for initiating contact with
 15
                                              the ground, not different end plate
 16
                                              shapes.
 17
                                              Perko Dec. ¶¶ 14-44 and Williams,
 18
                                              ¶¶12-41 (addressing in order and by
 19
                                              paragraph, each of Dr. Rand Decker’s
 20
                                              opinions in his declaration filed in
 21
                                              support of motion).
 22

 23

 24
      114.   For Claims 1-6, 25-28, 31 and    Denied.
 25
         39 of U.S. Pat. No. 9,284,708, the   Perko Dec. ¶¶5-13, ¶¶ 14-44 and
 26
         Expert Report of Foundation’s        Williams, ¶¶2C-10, ¶¶12-41
 27

 28
                                              -75-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 76 of 83 Page ID
                                 #:2784
       Plaintiff’s Undisputed Material Fact      Defendants’ Supporting Evidence
  1
                    (Proposed)
  2
         Expert Dr. Perko does not present     (addressing in order and by paragraph,
  3
         any noninfringement arguments.        each of Dr. Rand Decker’s opinions in
  4
         Yeh Decl., ¶ 6, Exh. D, Perko         his declaration filed in support of
  5
         Expert Report at 1, 6-9.              motion).
  6

  7
      115. Other than its discussion of “a     Denied. See Perko Dec., ¶¶5-13
  8
         substantially flat plate at the       addressing invalidity and non-
  9
         termination of the pile tip,” the     infringement, and attaching his expert
 10
         Expert Report of Foundation’s         report; Perko Dec. ¶¶ 14-44
 11
         expert Dr. Perko does not identify    (addressing each of Dr. Rand Decker’s
 12
         any claim elements purportedly        opinions in his declaration filed in
 13
         missing from the accused ED1,         support of motion).
 14
         ED2M and ED3 EDTTEX tips.             Also, Williams is an expert and
 15
         Yeh Decl., ¶ 6, Exh. D, Perko         presented his declaration and non-
 16
         Expert Report.                        infringement opinions. Williams Dec.,
 17
                                               para’s 2C-41.
 18

 19

 20
             Proposed Conclusions of Law Denying Plaintiffs’ Motion and Granting
 21
                      Defendants’ own Motion for Summary Judgment
 22
           1.      Plaintiffs are not entitled to summary judgment of infringement
 23

 24   pursuant to Fed. R. Civ. Proc. 56 because they have not demonstrated that there is
 25
      no genuine issue of material fact with respect to the presence of each and every
 26
      element of the asserted claims. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
 27

 28
                                              -76-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 77 of 83 Page ID
                                 #:2785
           2.      Plaintiffs bear the initial burden of proof, and must show infringement
  1

  2   by a preponderance of the evidence. Egyptian Goddess, Inc. v. Swisa, Inc., 543
  3
      F.3d 665, 679 (Fed. Cir. 2008) (“…the patentee bears the ultimate burden of proof
  4
      to demonstrate infringement by a preponderance of the evidence.”).
  5

  6        3.      Plaintiffs have completed a proper infringement analysis: they have
  7
      applied the properly construed claims to the accused instrumentalities, and shown
  8

  9
      that each limitation is literally present. TechSearch, L.L.C. v. Intel Corp., 286 F.3d

 10   1360, 1369 (Fed. Cir. Apr. 2002) (citing Markman v. Westview Instruments, Inc.,
 11
      52 F.3d 967, 976 (Fed. Cir. 1995)).
 12

 13        4.      Defendants presented admissible evidence to support Defendants’

 14   claims of noninfringement, in particular, in the declarations of Bryl Williams and
 15
      Howard Perko, that the subject patents ‘236 and ‘708 are invalid against prior art,
 16

 17   that efforts in the ‘708 patent to dilute the “end plate” and “substantially flat”

 18   descriptions required by the examiner for allowance of the ‘236 patent, by
 19
      language of a “closing end” are precluded. The Rice Declaration also cited to
 20

 21   patent claim history at Exhibits 29-reflecting that the addition of “end plate” and

 22   “substantially flat surface” and “disposed perpendicular to the Centerline of the
 23
      pile at claims 1, 19, 29, 32 and 33 were required to overcome rejection as
 24

 25   indefinite and obvious as to prior art beginning with Moseley, 1870, US 108,814.
 26   The one year on sale bar applies and is shown by the commercial sale of the
 27
      subject tips in 2003 on the Benchmark project, using the same pile tip diagrams
 28
                                              -77-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 78 of 83 Page ID
                                 #:2786
      later used by Plaintiffs in the March 2, 2005 patent application. Rice Dec., Exhibits
  1

  2   1-8. The burden has shifted to Plaintiffs to show that the patents are valid, that
  3
      Defendants infringed, that the long delay after the August 12, 2009 Cease & Desist
  4
      Letter, is not an estoppel and abandonment, and that the on sale bar of 35 USC 102
  5

  6   does not apply. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
  7
           5.      In these cross-motions, the burden thus shifted to Plaintiffs to identify
  8

  9
      evidence that shows that a genuine dispute exists as to material facts. Celotex

 10   Corp. v. Catrett, 477 U.S. 317, 322 (1986).
 11
           6.      No genuine material facts are in dispute in each of the following
 12

 13   respects. One, as a matter of law the 2003 Benchmark project piling and using the

 14   same pile tip diagrams as later used for the March 2, 2005 patent application, was a
 15
      commercial sale and therefore the one year on sale bar rule of 35 USC 102 applies.
 16

 17   Finistar Corp. v. DirectTV Group, Inc., 523 F3rd 1323, 1334 (Fed. Cir.2008). See

 18   also, Helsinn HealthCare, S.A. v. Teva Pharmaceuticals, 586 US __ (2019). Pfaff
 19
      v. Wells Electronics, Inc., 525 U.S. 55, 67 (1998). The offer for sale and sale
 20

 21   results in a bar to the later patent. It was published in the October 2, 2003 City of

 22   Los Angeles letter, public record in the Building Department file, as approval of
 23
      the same pile tips and pile tip diagrams as depicted in the patent application filed
 24

 25   17 months later on March 2, 2005.
 26        7.      Secondly, Plaintiffs have not overcome their burden to show the
 27
      subject patents are not invalid due to prior art, beginning with Moseley, 1870 US
 28
                                              -78-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 79 of 83 Page ID
                                 #:2787
      108, 814, Stawbag, and Verstraeten (1986) referenced in the patents.
  1

  2        8.      Third, Plaintiffs have not overcome their burden to show
  3
      infringement, and no reasonable jury could find infringement by Defendants
  4
      EDTTEX 2 and 3. While EDTTEX 1 is a closer case, Defendants have not meet
  5

  6   their burden, as the configuration of EDTTEX 1 has different elements such as no
  7
      cutter teeth, a shorter, more severe taper, a lower cylindrical section not present in
  8

  9
      the patents, and no end plate of equal diameter. No reasonable jury could return a

 10   verdict of noninfringement. TechSearch, LLC v. Intel Corp., 286 F3rd 1360 (Fed.
 11
      Cir. 2002), 1371; Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
 12

 13        9.      Additionally, Plaintiffs have not met their burden to show a lack of

 14   estoppel and abandonment, after undisputed evidence of the 8.4 years of silence
 15
      and inaction after the exchange of Cease & Desist letters in August 2009, and
 16

 17   evidence of prejudice to Foundation from that inaction and silence. Foundation

 18   continued to explore its stepped pile tips all the way to patent issuances, US,
 19
      8,727,668 and, 10,190,280. Foundation did not order more EDTTEX 1 tips. The
 20

 21   parties for years bid head to head with Plaintiffs not objecting to the EDTTEX 2

 22   and 3 stepped tips, and not objecting to Foundation’s patent applications.
 23
      Foundation could reasonably assume with EDTTEX 1 no longer in contention or
 24

 25   use, that Plaintiffs were making no claim as to the different EDTTEX 2 and 3 tips.
 26        10.     Foundation’s argument that it’s ED1, ED2M and ED3 tips do not
 27
      include “an end plate, having a substantially flat surface, and disposed
 28
                                              -79-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 80 of 83 Page ID
                                 #:2788
      perpendicular to the centerline of the pile” is material. In light of the patent claim
  1

  2   history, such a limitation is not required by the claims, and Plaintiffs were required
  3
      to cede more indefinite language during the claim prosecution history. Celotex
  4
      Corp. v. Catrett, 477 U.S. 317, 322 (1986).
  5

  6        11.     The Court’s findings on claim construction, did not construe the end
  7
      plate leaving the patent language to be defined by its own words. TechSearch,
  8

  9
      L.L.C. v. Intel Corp., 286 F.3d 1360, 1369 (Fed. Cir. Apr. 2002) (citing Markman

 10   v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995)).The patent claim
 11
      history shows that the combination of an end plate, of a substantially flat surface,
 12

 13   and disposed perpendicular to the centerline of the tubular pile, were required to

 14   secure the patent, and material, and are not infringed by Defendants’ EDTTEX 1, 2
 15
      or 3 which lack such features, along with other differences (no cutter teeth, a
 16

 17   second, smaller tubular section after the EDTTEX 1 taper, shorter helicals on

 18   EDTTEX 1, spiral stepped flights, no tapered section, and the ending point not
 19
      perpendicular to the pile).
 20

 21        12.     Defendants’ EDTTEX ED1, as installed, does not include all

 22   limitations of Claims 1-4 and 25-29 of the `708 patent.
 23
           13.     Defendants’ EDTTEX ED1, as installed, does not include all
 24

 25   limitations of Claims 1, 2, 4, 16, 18, and 22-27 of the `236 patent.
 26        14.     Defendants did not practice the method of Claim 31 of the `708 patent
 27
      when they installed EDTTEX piles with the ED1 tip. Also, the claimed method is
 28
                                              -80-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 81 of 83 Page ID
                                 #:2789
      invalid and preceded by prior art, beginning with Moseley and Verstraeten.
  1

  2   Turning a pile in a torqued-in fashion with the top of the pile held by the rotary
  3
      motor in some fashion is as old as screw piles themselves.
  4
           15.     Defendants did not practice the method of Claim 33 of the `236 patent
  5

  6   when they installed EDTTEX piles with the ED1 tip. Also, the claimed method is
  7
      invalid and preceded by prior art, beginning with Moseley and Verstraeten.
  8

  9
      Turning a pile in a torqued-in fashion with the top of the pile held by the rotary

 10   motor in some fashion is as old as screw piles themselves.
 11
           16.     Defendants’ EDTTEX ED2M, as installed, does not include all
 12

 13   limitations of Claims 1-4 and 25-28 of the `708 patent.

 14        17.     Defendants’ EDTTEX ED2M, as installed, does not include all
 15
      limitations of Claims 1, 2, 4, 16, 18, and 22-27 of the `236 patent.
 16

 17        18.     Defendants did not practice the method of Claim 31 of the `708 patent

 18   when they installed EDTTEX piles with the ED2M tip. Also, the claimed method
 19
      is invalid and preceded by prior art, beginning with Moseley and Verstraeten.
 20

 21   Turning a pile in a torqued-in fashion with the top of the pile held by the rotary

 22   motor in some fashion is as old as screw piles themselves.
 23
           19.     Defendants did not practice the method of Claim 33 of the `236 patent
 24

 25   when they installed EDTTEX piles with the ED2M tip. Also, the claimed method
 26   is invalid and preceded by prior art, beginning with Moseley and Verstraeten.
 27
      Turning a pile in a torqued-in fashion with the top of the pile held by the rotary
 28
                                              -81-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 82 of 83 Page ID
                                 #:2790
      motor in some fashion is as old as screw piles themselves.
  1

  2        20.     Defendants’ EDTTEX ED3, as installed, does not include all
  3
      limitations of Claims 1-4 and 25-28 of the `708 patent.
  4
           21.     Defendants’ EDTTEX ED3, as installed, does not include all
  5

  6   limitations of Claims 1, 2, 4, 16, 18, and 22-27 of the `236 patent.
  7
           22.     Defendants did not practice the method of Claim 31 of the `708 patent
  8

  9
      when they installed EDTTEX piles with the ED3 tip. Also, the claimed method is

 10   invalid and preceded by prior art, beginning with Moseley and Verstraeten.
 11
      Turning a pile in a torqued-in fashion with the top of the pile held by the rotary
 12

 13   motor in some fashion is as old as screw piles themselves.

 14        23.     Defendants did not practice the method of Claims 33 of the `236
 15
      patent when they installed EDTTEX piles with the ED3 tip. Also, the claimed
 16

 17   method is invalid and preceded by prior art, beginning with Moseley and

 18   Verstraeten. Turning a pile in a torqued-in fashion with the top of the pile held by
 19
      the rotary motor in some fashion is as old as screw piles themselves.
 20

 21        24.     While no infringement or valid patent is found, and the claim is

 22   barred by 35 USC 102 on sale bar, Plaintiffs had they overcome those other
 23
      elements as a matter of law, have not shown “but for” causation for a lost profits
 24

 25   measure of damages. To the Contrary, Defendants showed with ample evidence
 26   that due to weak financial position, multiple license suspensions, and factors other
 27
      than the pile tips causing projects to be secure by Foundation over Plaintiffs, there
 28
                                              -82-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
Case 5:17-cv-02507-AG-AGR Document 58-2 Filed 07/29/19 Page 83 of 83 Page ID
                                 #:2791
      is no lost profits claim.
  1

  2

  3   Dated: July 29, 2019                Respectfully submitted,
  4                                       McNEIL, SILVEIRA, RICE & WILEY
  5                                       By: /s/ Mark J. Rice
  6                                       Mark J. Rice
  7                                       Attorneys for Defendants Foundation
                                          Constructors, Inc. and Foundation Pile, Inc.
  8

  9

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                                              -83-
      DEFENDANTS’ PROPOSED STATEMENT OF CONTROVERTED FACTS AND CONCLUSIONS OF LAW IN
       OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT OF INFRINGEMENT
